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   STATE OF NORTH CAROLINE                        OIN THE GENERAL COURT OF JUSICE
                                                         SUPERIOR COURT DIVISION
   COUNTY OF NEW HANOyny:::                1     P 3: 4 2      22-CV5-1507

   MARK EASTHAM, and PETER:::                       0 r•
   SPARK,

                                   Plaintiffs,
                                                    MOTION FOR ENLARGEMENT OF
          VS.
                                                        TIME TO ANSWER OR
   PORT CITY CONTRACTING
                                                      OTHERWISE RESPOND TO
   SERVICES, INC., and ROBERT P.
                                                            COMPLAINT
   SHARPE,
                                                                  NA 0     (0i1
                                                                              1-
                                 Defendants.                       SP
                                                                            1
                                                                            1--0\/

                                                                         `1.)(V‘CA-A-L-t-(:)- 1)\-AlwO
          Pursuant to Rule 6(b) of the North Carolina Rules of Civil I

   Port City Contracting Services, Inc., and Robert P. Sharpe (hereinafter "Defendants"), by

   and through undersigned counsel, hereby move this Court for an extension of time of thirty

   (30) days, through and including Wednesday, July 6, 2022, within which to answer or

   otherwise respond to Plaintiffs' Complaint in this action.

          In support of this motion, Defendants show unto the Court that:

          I.      A Complaint was filed by Plaintiffs, and summons were issued to

   Defendants, in this action on Wednesday, May 4, 2022;

          2.      Defendants accepted service of the summons and Complaint as of Friday,

   May 6, 2022;

          3.      Defendants' deadline to answer or otherwise respond to Plaintiffs'

   Complaint is Monday, June 6, 2022;

          4.      The time within which Defendants must answer or otherwise respond to
                                                                                  1
   Plaintiffs' Complaint has not yet expired; and
                                                                             A TRUe C°91
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                                                                                      C
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          5.      Defendants request an extension of time of thirty (30) days, through and

   including Wednesday, July 6, 2022, in order to gather the necessary materials and records

   to be able to fully answer or otherwise respond to Plaintiffs' Complaint.

          WHEREFORE, Defendants pray that the Court enter an Order allowing an

   additional thirty (30) days, through and including Wain esday„July 6, 2022, within which

   to answer or otherwise respond to Plaintiffs' Complaint.



          Respectfully submitted, this the 1st day ofJui e'
                                                         \ 2022.
                                                        1
                                                AT       TIC COAST LAW


                                         By:
                                                                ALANZA
                                                NC Bar o. 50918
                                                CONO P. DEGNA
                                                NC Ba o52i05
                                                Attorneys.for Defendants
                                                314 Walnut Street, Suite 100
                                                Wilmington, NC 28401-4160
                                                910 769 6884 - Office
                                                910 777 5867 - Facsimile
                                                addison@atlanticcoastlaw.com
                                                degnan@atlanticcoastlaw.com
Case 23-00089-5-DMW        Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42                Page 13 of
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                                CERTIFICATE OF SERVICE

           The undersigned hereby certifies that, pursuant to the provisions of Rule 5(b) of the
   North Carolina Rules of Civil Procedure (G.S. § 1A-1, Rule 5(b)), I served a copy of the
   foregoing or attached MOTION FOR ENLARGEMENT OF TIME TO ANSWER OR
   OTHERWISE RESPOND TO COMPLAINT and PROPOSED ORDER GRANTING
   ENLARGEMENT OF TIME TO ANSWER OR OTHERWISE RESPOND TO
   COMPLAINT on each of the below-named parties and interested persons, if applicable,
   by mailing a copy thereof to the address(es) indicated below in an pre-paid envelope
   deposited in an official depository under the exclusive care and custody of the United States
   Postal Service in Wilmington or Wrightsville Beach, North Carolina and email, properly
   addressed as follows:

                  Thomas S. Babel
                  Davis Hartman Wright, LLP
                  P.O. Box 11320
                  Wilmington, NC 28404
                  2819 Park Avenue, Suite B
                  Wilmington, NC 28403
                  tsb@dhwlegal.com
                  Attorney for Piainti/fs

          This the 1st day of June, 2022.



                                                 ADDISON T,ALANZA
                                                 CONOR P DEGNAN
    Case 23-00089-5-DMW                         Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42                                               Page 14 of
                                                                280
                                                                                                    poo. File No.
 STATE OF NORTH CAROLINA                                                                                                     22 CVS 001507
                                                                                                                In The General Court Of Justice
                New Hanover                     Count"                                                              Superior Court Division
Name Of Plaintiff(s)
Mark Eastham and Peter Spark                                                       ,                     REPORT OF
                                VERSUS                                                              MEDIATOR IN SUPERIOR
Name Of Defendant(s)
                                                          7r;77 11 . ,
Port City Contracting Services, Inc. and Robert P. Sharpe - "   ' ' •
                                                                          1
                                                                              '
                                                                                   ID   2, L 2.      COURT CIVIL ACTION
Name And Address Of Mediator                                                                            G.S. 7A-38.1; Rule 6.B(4) of the Rules Implementing
5215 Junction Park Circle                                                                               Statewide Media ed Settlement Conferences and Other
                                                                                         ...._          Settlement Procedures in Superior Court Civil Actions
Suite 202
Wilmington, NC 28412                                                              Telephone No. Of Mediator              Fax No. Of Mediator (IfApplicable)
                                                                                               910-777-5995                           910-399-4277
 1. The undersigned mediator reports the following results of a mediation settlement conference either                       X ordered          or
          voluntarily conducted in this case:
     a. Conference          X was held.        • was not held.
     b. If held, date conference was completed: 05/31/2022
     c.    If not held, the reasons were:
2. If the case was reported settled prior to or during a recess of the conference, provide the name(s) of the person(s) who reported the
     case settled:
3. The parties reached an:       0 agreement on all issues. El impasse.
 4.   J If the case was settled, then, as required by MSC Rule 6.B(4)(b), the mediator has advised the parties that MSC Rule 4.0 requires
    that closing documents be filed with the court within 30 days of settlement (or 90 days if a State or political subdivision is involved) or
    before expiration of the mediation deadline, whichever is longer. The following closing document is to be filed:
     a. 0 consent judgment. • voluntary dismissal with prejudice. 0 voluntary dismissal without prejudice.
     b. Name, address, email, and telephone number of party or attorney who is to file the closing document:
           Name:
          Address:
           Telephone number: (             )         -                   Email Address:
5. Names of those who attended the conference:
                                                                                                Affiliation (e.g., party, attorney, Insurance
                                     Name                                                     company representative, lienholder, or other)

Thomas Babel                                                                      Attorney for Plaintiffs

Mark Eastham                                                                      Plaintiff

Peter Spark                                                                       Plaintiff

Addison Palanza                                                                   Attorney for Defendants

James Gillespie                                                                   Attorney for Defendants
                                                                                                        A ,• RUE.
                                                                                                    CLERK
Robert P. Sharpe                                                                  Defendant                     OF 0,    CO:al,
                                                                                                     Ay: yerviNovEA;"cuR—cow?
                                                                                                                   otipk-",  r


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                                                                                                                                 e •_      '
                                                                                                                                 lerlisl




                     Original-File   Copy-Senior Resident Superior Court Judge or his/her designee          Copy-Plaintiff   Copy-Defendant
                                                                          (Over)
 AOC-CV-813, Rev. 7/14
 0 2014 Administrative Office of the Courts
       Case 23-00089-5-DMW                     Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42                                        Page 15 of
                                                               280
                                                                                              Affiliation (e.g., party, attorney, Insurance
                                    Name                                                    company representative, lienholder, or other)
 ..




      - :f:i1;r:A':,4:-TAWgrtfrn1W-Witit -                    1_   MEDIATOR'S FEE                  mga.elififflra;.'.::
                                                                                                                 Court-Appointed           Party-Selected
                                                                                                                    Mediator                 Mediator

 ADMINISTRATIVE FEE (MSC RULE 7.6 or as privately agreed with patty-selected mediator)
                                                                                                             $                         $              250.00
 MEDIATION FEE (MSC RULE 7.6: $150.00 per hour for time spent in conference for court-
 appointed mediator, billed in quarter hour segments, or privately set fee for party-selected mediator)
 Total Time Spent in Mediated Settlement Conference(s):                2      Hours       30     Minutes $
                                                                                                                                       $              737.50
 POSTPONEMENT/CANCELLATION FEE (MSC RULE 7.E or as privately agreed with party-
 selected mediator)                                                                                          $                         $

                                                                                       TOTAL FEE
                                                                                                             $                         $              987.50
 All fees of the mediator have been paid, except as follows:
         Name Of Party Owing Balance                                             Address Of Party                                  Amount Of Balance

Thomas Babel                                           2819 Park Avenue, Suite B, Wilmington, NC 28403                             $                  493.75

Addison Palanza                                        314 Walnut Street, Suite 100, Wilmington, NC 28401                          $                  493.75

                                                                                                                                   S .

                                                                                                                                   $
 Name of any party filing Petition For Relief From Obligation To Pay Mediator's Fee: (Please attach Petition For Relief.)


I have filed this report with the Court as required within ten (10) days after conclusion of the conference or within ten (10) days of being
advised by a party that this case settled before the date scheduled for mediation or during a recess of the conference.
Date                           Name Of Mediator (Type Or Print)                                Sign reifr d
                                                                                                          fe:11
                                                                                                             ./rt kr
          06/01/2022           H. Mark Hamlet

  AOC-CV-813, Side Two, Rev. 7/14
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STATE OF NORTH CAROLINA    FILED IN THE GENERAL COURT OF JUSTICE
                    CLERK OF SUPERIOR COUISTPERIOR COURT DIVISION
COUNTY OF NEW HANOVENEW HANOVER
                                   COUNTY FILE NO.: 22-CVS-001507

MARK EASTHAM
                                       JUN - 9 2022
                                              )
and PETER SPARK
                      Plaintiff                            CSC


                       V.                               CONSENT ORDER EXTENDING
                                                      TEMPORARY RESTRAINING ORDER
PORT CITY CONTRACTING
SERVICES, INC. and ROBERT P.
SHARPE
                  Defendants.



         THIS MATTER came before this Court on Plaintiffs' and Defendants request to extend

the Temporary Restraining Order that was entered by the Court on May 4, 2022, and which was

further extended by Consent on May 12, 2022, and the Court based on the Consent of the parties

FINDS AND ORDERS that the Temporary Restraining Order is hereby extended to July 5,

2022, when at such time the hearing on Plaintiffs' Motion for Preliminary Injunction shall be

heard.


                                   t
         SO ORDERED, this the          day of June 2022.




                                               Charles H. Henry
                                               Superior Court Judge Presiding
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                                           280




 CONS/ NTED TO:


 Thomas S. Babel
 N.C. State Bar No. 35004
 tsb(c72ci11w1egal coni
 Davis Hartman Wright, LLP
 P.O. Box 11320 (28404)
 2819 Park Avenue, Suite B
 Wilmington, NC 28403
 Telephone: (910) 756-4070
 Counsel for Plaintiffs Mark Eastham and
 Peter Spark


 CLI /V / -1,   „ •              1    3
 Addison T. Palanza
 N.C. State Bar No. 5Cie'
   cidisonaatlanticcoastlaw.com
 Atlantic Coast Law
 314 Walnut Street, Suite 100
 Wilmington, NC 28401
 Telephone: (910) 769-6884
 Counsel for Defendant Port City Contracting Services, Inc.
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 STATE OF NORTH CAROLINA                           IN THE GENERAL COURT OF JUSTICE
                                                       SUPERIOR COURT DIVISION
 COUNTY OF NEW HANOVER                                   FILE NO.: 22-CVS-001507

 MARK EASTHAM and                            )
 PETER SPARK                                 )
               Plaintiffs,                   )
                                             )
                       v.                    )
                                             )
                                                            NOTICE OF HEARING
 PORT CITY CONTRACTING                       )
 SERVICES, INC., ROBERT P.                   )
 SHARPE, STONE BAY TACTICAL,                 )
 LLC, and SRS SUPPLY, LLC,                   )
                   Defendants.               )



               PLEASE TAKE NOTICE that the undersigned will bring on for hearing the

 Plaintiffs’ Motion for Pre-judgement Attachment, at the July 7, 2022, Civil Session of the New

 Hanover County Superior Court at 9:30 a.m. or as soon thereafter as the same may be heard.




        RESPECTFULLY SUBMITTED, this the 23rd day of June, 2022.


                                             Davis Hartman Wright LLP
                                             P.O. Box 11320 (28404)
                                             3819 Park Avenue, Suite B
                                             Wilmington, NC 28403
                                             Telephone and Facsimile: (910) 756-4070



                                             By:     __________________________________
                                                    Thomas S. Babel
                                                    N.C. State Bar No. 35004
                                                    tsb@dhwlegal.com
                                                    Counsel for Plaintiffs Mark Eastham
                                                    and Peter Spark
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                               CERTIFICATE OF SERVICE

     I hereby certify that I have this day served a copy of the foregoing NOTICE OF
 HEARING by the following means:

           þ By placing a copy, contained in a first-class, postage-paid wrapper, into a
            depository under the exclusive custody of the United States Postal Service,
            addressed to the parties as indicated below:

                      Stone Bay Tactical, LLC              SRS Supply, LLC
                      2017 Corporate Drive, Unit 4         245 Royal Fern Road
                      Wilmington, NC 28405                 Wilmington, NC 28412


           þ By causing to be delivered to the party(ies) via electronic mail to the electronic
            mail address indicated below:
                   wcreiss@reissnutt.com

       This the 23rd day of June, 2022.



                                            _________________________________
                                            Thomas S. Babel
                                            Counsel for Plaintiffs Mark Eastham and
                                            Peter Spark
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                                             D
  STATE OF NORTH CAROLINA 1 - -' -                IN THE GENERAL COURT OF JUSTICE

  COUNTY OF NEW HANO.MNR              I 2o   p 3: 0 1 SUPERIOR  COURT DIVISION
                                                        FILE NO.: 22-CVS-00150 7

  MARK EASTHAM                                     Y.'•
  And PETER SPARK,                                 )

               Plaintiffs,                         )
                                                   )
  vs.                                              )
                                                   )
                                                             NOTICE OF APPEARA1NCE
  PORT CITY CONTRACTING                            )
  SERVICES, INC., ROBERT P. SHARPE,                )
  STONE BAY TACTICAL, LLC, and SRS                 )
  SUPPLY, LLC,                                     )
                                                   )
               Defendants.                         )
                                                   )


        PLEASE TAKE NOTICE that the undersigned, W. Cory Reiss an                            Kyle J.

  Nutt, of the law firm Reiss & Nutt, PLLC, enter an appearance as counsel of record

  in the above-captioned matter for Defendants Port City Contracting Se                     ces, Inc.

 and Robert P. Sharpe. Copies of all pleadings, notices, calendars, or other d4cuments

 should be directed to the address shown herein-below.




                                                                           A TRUE
                                                                     CLERK OF             COPY
                                                                       NEW        SUPERIOR COURT
                                                                       BY: C.- r; -
                                                                                    717 L COUNTY
                                                                      Doputy Clerk of       Cfierigo
                                                                                        Superior Court




                                        REISS & Nurr, PLIE
                 1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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        Respectfully submitted this the 28th day of June 2022.



                                                     REISS & Nurr, PLLC
                                                     Attorneys for Defendants Port City
                                                     Contracting Services, Inc., and
                                                     Robert P. Sharpe


                                              By:
                                                     W. Cory     iss
                                                     N.C. State Bar No. 41549
                                                     Email: wcreiss@reissnutt.com
                                                     Kyle J. Nutt
                                                     N.C. State Bar No. 43469
                                                     Email: kjnutt@reissnutt.com
                                                     1221 Floral Parkway, Suite 104
                                                     Wilmington, NC 28403
                                                     Telephone: (910) 420-4674
                                                     Facsimile: (910) 420-4637


                               CERTIFICATE OF SERVICE

           the undersigned attorney, hereby certify that the foregoing document was
  duly served on the following persons, pursuant to Rule 5 of the North Carolina Rules
  of Civil Procedure by depositing the same in a postage-paid, properly addressed
  wrapper in a post office or official depository under the exclusive care and custody of
  the United States Postal Service:

        Thomas Babel
        Davis Hartman Wright, LLP
        P.O. Box 11320 (28404)
        Wilmington, NC 28403
        Fax: (910) 756-4080
        Attorneys for Plaintiffs'

        This the 28th day of June 2022.

                                                      REISS & Nurr, PLLC
                                                      Attorneys Ibr Defendants

                                              By:


                                        REISS & NUTT, PLLC
                  1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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  STATE OF NORTH CAROLINA                          IN THE GENERAL COURT OF JUSTICE
                                     FILED             SUPERIOR COURT DIVI ION
  COUNTY OF NEW HANOVER                                  FILE NO.: 22-CVS-001 07

  MARK EASTHAM
                                ?en JUL 8 P            9
  And PETER SPARK,
                              NEW HANOVER CO.,
               Plaintiffs,     By              )

  vs.                                              )
                                                   )       OBJECTION TO RULE 30(b)(6)
  PORT CITY CONTRACTING                            )               TOPICS
  SERVICES, INC., ROBERT P. SHARPE,                )
  STONE BAY TACTICAL, LLC, and SRS                 )
  SUPPLY, LLC,                                     )
                                                   )
               Defendants.                         )
                                                   )


        NOW COMES Defendant Port City Contracting Services, Inc., by anI through

 counsel, pursuant to the Temporary Restraining Order and Rule 30 of he North

 Carolina Rules of Civil Procedure and objects to the topics identified on Ex ibit A to

 the Plaintiffs' July 11, 2022, Notice of Deposition of this corporate DefendTnt to the

 extent they differ from and are beyond the scope of the limited discovery permitted

 by the Court in the TRO entered on May 4, 2022.



                                                                     A TRUE COPCØUkT
                                                                 CLERK OF SUPERIOR TY
                                                                   NEW HANOVER COU
                                                                      Chadotte A. iiçiiney
                                                                          ::,....-1;sot:-,,Ipe!tut-




                                        Russ & Nurr, PLLC
                 1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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       Respectfully submitted this the 18th day of July 2022.



                                                   REISS &        PLLC
                                                   Attorneys for Defendants


                                           By:
                                                   W. Cory
                                                   N.C. State Bar No. 41549
                                                   Email: wcreisis@reissnutt.coni
                                                   Kyle J. Nutt
                                                   N.C. State Bar No. 43469
                                                   Email: kjnuttgreissnutt.com
                                                   1221 Floral Parkway, Suite 104
                                                   Wilmington, NC 28403
                                                   Telephone: (910) 420-4674
                                                   Facsimile: (910) 420-4637




                             CERTIFICATE OF SERVICE

        I, the undersigned attorney, hereby certify that the foregoing docuinent was
 duly served on the following persons, pursuant to Rule 5 of he North Carolina Rules
 of Civil Procedure by facsimile:

       Thomas Babel
       Davis Hartman Wright, LLP
       P.O. Box 11320 (28404)
       Wilmington, NC 28403
       Fax (910) 756-4080
       Attorneys for Plaintiffs

       This the 18th day of July 2022.

                                                   REISS & Nurri PLLC
                                                   Attorneys ibr Defendants


                                            By:
                                                    W. Cory


                                      REISS & Ntrrt, PLLC
                1221 Moral Parkway, Suite 104 - Wilmington, North Carolina 28403
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        STATE OF NORTH CAROLINA                  IN THE GENERAL COURT OF J STICE
                                                     SUPE     R COURT DIVISI N
        COUNTY OF NEW HANOVER                          FILE TIO: 21-CVS-003497

                                                  Z JUL I cl P 2: 21-1
  MARK EASTHAM
  And PETER SPARK,                                          00., C.S.C.
                Plaintiffs,


  VS.                                             MOTION FOR EXTENSION OF TIME

  PORT CITY CONTRACTING
  SERVICES, INC., ROBERT P.
  SHARPE, STONE BAY TACTICAL,
  LLC, and SRS SUPPLY, LLC,

           Defendants.




         NOW COME the Defendants, PORT CITY CONTRACTING SERVICES, INC.,

 ROBERT P. SHARPE, STONE BAY TACTICAL, LLC, and SRS SUPPLY, LLC,

 ("Defendants"), by and through undersigned counsel, and pursuant to Rule 6(b) of the

 North Carolina Rules of Civil Procedure, move the Court for the entry of in order

 extending the time within which they may serve a response to the Plaintiff's Complaint. In

 support hereof, Defendant's respectfully show the Court the following:

         1. That the Defendants were served with the Complaint on June 22nd, 2022.

         2. That the time for responding to the same has not expired.

         3. That the Defendants are in need of an additional thirty (30) days to adequately

 investigate and prepare a response to the Complaint.
                                                                  A TRUE COPY
                                                             CLERK OF SUPERIOR COURT
                                                               NEW HANOVER COUNTY
                                                               BY: Tatricia M. Cherigo
                                                              Deputy Clerk of Superior Court
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        WHEREFORE, Defendants pray the Court for an exte1-' sion of an additional thirty

  (30) days to respond to the Complaint, up to and including th 21st day of August 2022


        This the/c' day of July 2022.




                                                REISS &       , PLLC
                                                Attorneys for efendants



                                         By:
                                                  W. Cory
                                                  N.C. State ar No. 41549
                                                  Email: wc iss®reissnutt.coin
                                                  1221 Floral Parkway, Suite 104
                                                  Wilmingto , NC 28403
                                                  Telephone: (910) 420-4674
                                                  Facsimile: 910) 420-4637
Case 23-00089-5-DMW       Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42   Page 39 of
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                               CERTIFICATE OF SERVICE

  I hereby certify that I have this day served the foregoing MOTIONFOR EXtENSION
                     OF TIME on all parties to this action by US Mail:


       Thomas Babel
       Davis Hartman Wright, LLP
       P.O. Box 11320 (28404)
       Wilmington, NC 28403
       Fax: (910) 756-4080
       Attorneys for Plaintiti%




       This the   n   day of July 2022
                                               REISS & NUTT, PLLC
                                               Attorneys lin. Defendants


                                         By:

                                                 W. Cory Reiss
                                                 N.C. State Bar No. 41549 -
                                                 Email: wcreiss@reissnutt.com
                                                 1221 Floral Parkway, Suite :104
                                                 Wilmington, NC 28403
                                                  Telephone: (910) 420-4674
                                                 Facsimile: (910) 420-4637
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  STATE OF NORTH CAROLINA                             T-IEAENERAL COURT OF JUSTICE
                                                        SUOERIOR COURT DIVISION
  COUNTY OF NEW HANOVER                                   FILE NO.: 22-CVS-001507
                                           /CZ/ JUL „. 1 P 1: 50
  MARK EASTHAM
  And PETER SPARK,                                )
                                                  )
              Plaintiffs,                         )
                                                  )
  vs.                                             )
                                                  )
  PORT CITY CONTRACTING                           )
                                                           CERTIFICATE OF SERVICE
  SERVICES, INC., ROBERT P. SHARPE,               )
  STONE BAY TACTICAL, LLC, and SRS                )
  SUPPLY, LLC,                                    )
                                                  )
              Defendants.                         )
                                                  )


       I, the undersigned attorney, hereby certify that the ORDER ON MOTION
 FOR EXTENTION OF TIME was duly served on the following persons, pu suant to
 Rule 5 of the North Carolina Rules of Civil Procedure by depositing the s me in a
 postage-paid, properly addressed wrapper in a post office or official deposit y under
 the exclusive care and custody of the United States Postal Service:



        Thomas Babel
        Davis Hartman Wright, LLP
        P.O. Box 11320 (28404)
        Wilmington, NC 28403
        Fax: (910) 756-4080
        Attorneys for Plaintiffs




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                                                         Deputy Clerk of
                                                                           Superior court


                                       Russ & Nun, PLLC
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       This theZeday of      V i""         2022.

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    STATE OF NORTH CAROLINA                        IN THE GENERAL COURT OF JUSTICE
                                            F I LF D   SUPERIOR COURT DIVISION
    COUNTY OF NEW HANOVER                                FILE NO.: 22-CVS-001507
                                      7017 AUG -5 P           15
    MARK EASTHAM                                    )
    And PETER SPARK,        NEW HANOVEi ( TY. C
                                         )
                               Y         )
               Plaintiffs,
                                         )
    vs.                                  )
                                         )                     AMENDED ANSWER AND
    PORT CITY CONTRACTING                )                       COUNTERCLAIMS
    SERVICES, INC., ROBERT P. SHARPE,    )
    STONE BAY TACTICAL, LLC, and SRS     )
    SUPPLY, LLC,                         )
                                         )
               Defendants.               )
                                         )




         NOW COME Defendants Port City Contracting Services, Inc. and Robert P.

   Sharpe, by and through undersigned counsel, and Answer the Complaint as follows:


                             FIRST AFFIRMATIVE DEFENSE
                         (Failure to State a Claim Rule (12)(b)(6))

         The Plaintiffs' claims should be dismissed on the grounds that they faij to state

   claims for which relief can be granted.


                            SECOND AFFIRMATIVE DEFENSE
                               (Failure to Mitigate Damages)

         The Plaintiffs' contract-based claims are barred on the grounds that they failed

   to mitigate their damages.

                                                                          A TRUE COPY
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                                                                        NEW HANOVER COUNTY
                                                                        BY: Patricia 911. Cherigo
                                                                       o•puty olerk of Superior Court

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                             THIRD AFFIRMATIVE DEFENSE
                                  (Breach of Contract)

          The Plaintiffs' contract-based claims are barred b cause the Plaintiffs first,

   breached their contractual obligations, relieving the Defendants of any obligation to

   perform.


                           FOURTH AFFIRMATIVE DEFENSE
                                  (Unclean Hands)

          The Plaintiffs' claims for equitable relief are barred hr to their own inequitable

   conduct.


                             FIFTH AFFIRMATIVE DEFENSE
                                (Not Employees/Exemptions)

          The Plaintiffs' Wage and Hour Act claims are barred on the grounds that the

   Plaintiffs were not employees and/or were exempt from the              et at all relevant times.


                             SIXTH AFFIRMATIVE DEFENSE
                                     (Good Faith)

          The Plaintiffs' Wage and Hour Act claims are barred in part on the grounds

   that the Defendants had a good faith belief that the Plainti fs were exempt from the

   Act.
                                                                      I
                           SEVENTH AFFIRMATIVE DEFENSE
                                 (Exempt Employees)

          The Plaintiffs' claims are barred by the applicable Jatutes of limitations for

   each claim.




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                            EIGHTH AFFIRMATIVE DEFENSE
                                       (Truth)

           The Plaintiff's defamation claim is barred on the grounds that the statements

   alleged to be defamatory were truthful.


                           NINTH AFFIRMATIVE DEFENSE
                     (Waiver, Estoppel, and/or Accord and Satisfaction)

           The Plaintiffs' claims arising from alleged failure to pay "back pay" are barred

   by the doctrines of waiver and estoppel in that they offered their services in exchange

   for equity in the company at a later date and received that equity.


                             TENTH AFFIRMATIVE DEFENSE
                                   (Indemnification)

           Sharpe is entitled to indemnification by the company for defense of this action

   and any monetary award that might result.


                           ELEVENTH AFFIRMATIVE DEFENSE
                                      (Setoff)

           To the extent that the Plaintiffs are awarded payment for unpaid services, said

   amounts must be offset by the value of shares in PCCS that they received as

   compensation for those services.


                            TWELFTH AFFIRMATIVE DEFENSE
                                (Business Judgment Rule)

           The Plaintiffs' claims are barred in whole or part by the business judgment

   rule.




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                                            PARTIES

         1.     Admitted.

         2.     Admitted that Peter Spark is a resident of Net' Hanover County, North

   Carolina. It is denied that. Spark is a citizen of New Hanovei• County, North Carolina.

         3.     Admitted.

         4.     Admitted.

         5.     Admitted as to Stone Bay Tactical. LLC.

         6.     Admitted as to SRS Supply, LLC.

         7.     Admitted.


                                JURISDICTION AND VENUE

         8.     Admitted.

         9.     Admitted.

         10.    Admitted.


                                              FACTS

         1.1.   Admitted that one of the business activities conducted by Defendant

   PCCS is supplying diabetes testing strips, for which its primary customer is the U.S.

   Department of Veterans Affairs. Except as expressly admitted, denied.

         12.    Admitted.

         13.    Admitted.

         14.    The allegations in Paragraph 14 reference a written document and legal

   instrument, which is the best evidence of its contents and therefore no response is



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   required. To the extent the allegations in Paragraph 14 are inconsistent with the

   referenced instrument, they are denied.

         15.    Admitted that Sharpe is the largest shareholder of Class B stock in

   PCCS and is the majority shareholder of Class A stock.                Admitted th4 PCCS

   shareholders include the Plaintiffs and that they are minority shareholders. The

   remainder of the allegations in Paragraph 15 are legal conclusions to which no

   response is required; however, to the extent a response is required, they are denied.

         16.    Admitted.

         17.    Admitted.

         18.    Admitted.

         19.    Admitted.

         20.    Admitted.

         9 1.   Admitted.

         22.    The allegations in Paragraph 22 reference a written document land legal

   instrument, which is the best evidence of its contents and therefore no reSponse is

   required. To the extent the allegations in Paragraph 22 are inconsistent with the

   referenced instrument, they are denied.

         23.    Admitted that Sharpe agreed in September of 2021 that PCCS should

   make a 50% payment of the Stock Redemption and Release Agreement to Spark but

   that Spark failed to conduct that transaction in the course of his job responsibilities

   and authority as Chief Financial Officer, and that Eastham made no effort lo compel

   that transaction. Except as expressly admitted, denied.



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         24.    It is admitted that Eastham was terminated on or about December 14,

   2021. Except as expressly admitted, denied.

         25.   Admitted.

         26.   Admitted.

         27.   Admitted.

         28.    Denied.

         29.    Denied.

         30.    Denied.

         31.   Admitted that the Plaintiffs added deferred ompensation to PCCS's

   financial records in late 2020 for the purpose of valuation and later to be converted

   to equity, but the Plaintiffs maintained those amounts on the books without

   authorization of the Defendants after issuance of new shares. Except as expressly

   admitted, denied.

         32.    Admitted.

         33.    Admitted.

         34.    Admitted.

         35.    It is admitted that Sharpe proposed a bonus of 100,000 pursuant to his

   and PCCS's existing policy of paying a commission on employee-generated revenues

   and, in fact, was less than the amount the commission other employees would expect.
                                                               1
   to receive from the amount, of revenues generated by Sharpe. It is admitted that

   commissions encourage employees to generate revenues Or PCCS and therefore

   benefit them and the company. Except as expressly admittek denied.



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         36.     It is admitted that PCCS leased a car for Sharpe's use as an officer and

   employee. Except as expressly admitted, denied.

         37.     Denied.

         38.     It is admitted that the Plaintiffs initially objected to the commission but

   that Eastham later agreed to its appropriateness.               It is denied that deferred

   compensation was owed or promised to be paid from revenues. Except as expressly

   admitted, denied.

         39.     Denied.

         40.     It is admitted that the Plaintiffs requested payment of purported

   deferred compensation.      It is expressly denied that deferred compensation was

   promised to be paid from operating revenues of PCCS. Except as expressly admitted,

   denied.

         41.     Admitted that an email was sent on the referenced date. This p ragraph

   references a written document that is the best: evidence of its contents. To the extent

   the allegations in Paragraph 41 are inconsistent with the referenced docuMent, they

   are denied.

         42.     Admitted.

         43.     Denied.

         44.     Denied that Sharpe made any threats.                  Admitted that Sharpe

   reasonably believes that. Eastham violated federal law. Except as expressly Eidmitted,

   denied.




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         45.    Denied that Sharpe made any threats. Admitind that embezzlement or

   theft could be grounds for deportation. Except as expressly admitted, denied.

         46.   Admitted that Sharpe lodged a criminal complaint against Spark for

   embezzlement from PCCS. Except as expressly admitted, denied.

         47.   Admitted that the Plaintiffs were not owed deferred compensation from

   PCCS's operating revenues and therefore were not paid suh compensation. Except,

   as expressly admitted, denied.

         48.   Admitted the referenced correspondence was sIent to the Defendants on

   or about, the referenced date. Except as expressly admitted; denied.

         49.   Admitted that the Plaintiffs were not. owed deferred compensation from

   PCCS's operating revenues and therefore were not pnid such compensation.

   Admitted that the Defendants did not respond to Exhibit C. Except as expressly

   admitted, denied.

         50.   Admitted.

         51.    Denied.

         52.    It is admitted that Sharpe is the only voting shareholder. It is denied

   that he exercises complete control over PCCS.

         53.    Denied.

         54.    Denied.

         55.    Denied.

         56.    Denied.

         57.    Denied.



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         58.   Denied.

         59.   Admitted that Sharpe traveled to Las Vegas for an industry show as a

   representative of PCCS d/b/a Stone Bay Tactical. Except as expressly admitted,

   denied.

         GO.   Admitted that "Stone Bay Tactical" is an assumed name for PCCS and

   therefore all use of the warehouse to store inventory and other materials of "Stone

   Bay Tactical" was in fact use by PCCS. Similarly admitted, and for the same reasons,

   all work by PCCS employees for "Stone Bay Tactical" was for PCCS. Except as

   expressly admitted, denied.

         Gl.   Denied.

         62.   Denied as to Stone Bay Tactical, LLC. Except as expressly a mitted,

   denied.

         63.   Admitted that prior to January of 2022, SRS Supply, MX .ised the

   warehouse to store inventory, the sale of which generated income for PCCS Except.

   as expressly admitted, denied.

         64.   Admitted that PCCS employees were paid by SRS for their Work for

   SRS. Admitted that some SRS employees also were employed and paid by l'CCS.

         65.   Denied.

         66.   Denied.

         67.    Denied.

         68.   Admitted.




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        69.    Admitted that Sharpe traveled to Ukraine f ir business purposes on

  behalf of PCCS, including the potential sale of military supplies. Except as expressly

  admitted, denied.

        70.    Admitted.

        71.    Admitted that PCCS paid business-related expenses and that Sharpe

  paid expenses associated with his personal mission in Ukraine. Except as expressly

  admitted, denied.

        72.    Denied.

        73.    Denied.

        74.    Admitted that weapons owned by PCCS are                tored in the warehouse

  leased by PCCS consistent with PCCS d/b/a Stone Bay Taciical's Federal Firearms

  Licenses ("FFLs").

        75.    Denied.

        76.    Denied.

        77.    Denied.

        78.    Admitted that Sharpe sent a. draft email to a confidante, whom he

  trusted not to disclose said email.      The allegations in Pai-agraph 78 reference a

  written document, which is the best evidence of its contents. Except as expressly

  admitted, denied.

        79.    Denied.

        80.    Denied.




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         81..   The allegations in Paragraph 81 reference a written document, which is

   the best evidence of its contents. To the extent that the allegations are inconsistent

   with the document, they are denied.
                                                                                      I
                                                                                      I
         82.    Admitted that Sharpe remained a signatory on the bank ace unts of

   PCCS and continued to control debits and withdraw from the company bank account

   for business purposes. Except as expressly admitted, denied.

         83.    Admitted that PCCS has terminated employees for cause. Except as

   expressly admitted, denied.

         84.    Admitted that the conduct of the Plaintiffs caused Sharpe significant

   emotional distress which exacerbated his PTSD while he was fighting a war. Except

   as expressly admitted, denied.

         85.    Admitted that Sharpe has returned from Ukraine. Except as expressly

   admitted, denied.

         86.    Denied.

         87.   Admitted that Exhibit F was sent and that it is the best evideice of its
                                                                             I
   contents. To the extent that the allegations in Paragraph 87 are inconsist6nt with

   the referenced document, they are denied.                                          I

         88.    Admitted.

         89.    Denied.

         90.    The Defendants lack information sufficient to admit or                deny the
   allegations in Paragraph 90 and therefore denies them.




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                                FIRST CLAIM FOR RELIEF
                             (Breach of Fiduciary Duty—Sharp0)

         91.    The Defendant reasserts and incorporates by reference his answers in

   I he previous paragraphs as if fully set forth.


         92.    Admitted that Sharpe is the largest shareholdr of Class B stock and is

   the sole shareholder of Class A stock in PCCS.

         93.    Admitted.

         94.    Admitted.

         95.    Admitted that Sharpe is not an attorney. The allegations in Paragraph

   95 consist of legal conclusions to which no response is required. To the extent a

   response is required, denied.

         96.    Admitted that Sharpe is not an attorney. The allegations in Paragraph

   96 consist of legal conclusions to which no response is required. To the extent a

   response is required, denied.

         97.    Denied.

         98.    Denied.


                               SECOND CLAIM FOR RELIEF
                                (Constructive Fraud—Sharpe)

         99.      The Defendant reasserts and incorporates by reference his answers in

   the previous paragraphs as if fully set forth.

         100.   Admitted that Sharpe is not an attorney. The .11egations in Paragraph

   100 consist of legal conclusions to which no response is recItuired. To the extent a

   response is required, denied.


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           101.   Denied.

           102.   Denied.

           103.   Denied.


                                  THIRD CLAIM FOR RELIEF
                            (Production of Corporate Records—PCCS)

           104.    The Defendant reasserts and incorporates by reference his an wers in

   the previous paragraphs as if fully set forth.

           105.   Admitted.

           106.   Admitted.

           107.   Denied upon information and belief that as of the date of the Ca mplaint

   Defendant PCCS had not responded. Admitted that since the filing of the Complaint,

   PCCS again responded by providing the requested records and therefore this claim is

   moot.

           108.   Denied.


                               FOURTH CLAIM FOR RELIEF
                     (Dissolution and Appointment of Receiver—PCCS)

           109.   The Defendant reasserts and incorporates by reference his an wers in

   the previous paragraphs as if fully set forth.

           110.   Admitted.

           111.   Denied.

           112.   Denied.

           113.   Admitted that in accordance with federal regulations, a service-disabled

   veteran-owned business ("SDVOB") must be controlled by a service-disabled veteran

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   to do business under the government's SDVOB program, arid that neither Plaintiff is

   a service -disabled veteran. Admitted that the Plaintiffs do not have control over

   PCCS or Sharpe. Except as expressly admitted, denied.

         114.   Denied.

         115.   Denied.

         116.   Denied.

         117.   Denied.


                               FIFTH CLAIM FOR RELIEF
                       (Preliminary Restraining Order Defendants)

         118.   The Defendants reassert and incorporate by ieference the answers in

   the previous paragraphs as if fully set forth.

         119.   Admitted that some PCCS assets have been used by Defendants for the

   benefit of PCCS and/or for compensation to PCCS. Exceplt as expressly admitted,

   denied.

         120.   Denied.

         121.   Denied.

         122.   Admitted that Sharpe struggles with PTSD arid depression because of

   his service. Admitted that the SDVOB program is specifically designed to prefer

   government contracting with veterans disabled by service t, -) their country and it is

   only because of that service, and Sharpe's resulting PTSD, that. PCCS has been able

   to do business benefiting its shareholders, including th                 Plaintiffs. Except as

   expressly admitted, denied.

         123.   Denied.

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         124.   Denied.

         125.   Denied.

         126.   Denied.


                                SIXTH CLAIM FOR RELIEF
                                (Breach of Contract—Sharpe)

         127.   The Defendant reasserts and incorporates by reference the an wers in

   the previous paragraphs as if fully set forth.

         128.   Admitted.

         129.   Admitted.

         130.   Admitted that the Plaintiffs and other executives, including Sharpe.

   agreed not to receive compensation during PCCS's formative period until they could

   be issued equity shares. Admitted that following the initial formative periO, when

   revenues stabilized, the Plaintiffs and others were hired as employees ft nd paid

   wages. Admitted that as agreed, the Plaintiffs received equity shares, which they

   accepted. Except as expressly admitted, denied.

         131.   Admitted.

         132.   Denied.

         133.   Denied.

         134.   Denied.

         135.   Denied.

         130.   Denied.




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                           SEVENTH CLAIM FOR RELIEF
                      (Breach of Wage and Hour Act—Defendiints)

        137.   The Defendants reassert and incorporate by rleference the answers in

  the previous paragraphs as if fully set forth.

        138.   Admitted the Plaintiffs were salaried employees beginning in or about

  June of 2020. Except as expressly admitted, denied.

        139.   Denied.

        140.   Admitted that Eastham was not employed by or paid a salary during the

  referenced period as an investment in PCCS from October 2019 until May of 2020

  and was then a 20% interest holder. Except as expressly admitted, denied.

        141.   Admitted that Spark was not employed by or paid during the referenced

  period as an investment in PCCS from October 2019 until May of 2020. Except as

  expressly admitted, denied.

        142.   The allegations set forth in Paragraph 142 reference a written document

  that is the best evidence of its contents. To the extent the apegations in Paragraph

  1.42 are inconsistent with the referenced document, they are denied.

        143.   Admitted that PCCS did not owe deferred compinsation from operating

  revenues. Except as expressly admitted, denied.

        144.   Denied.

        145.   Admitted that PCCS declined a second demand for cash payments that.

  was contrary to prior agreement of the parties. Except. as expiiessly admitted, denied.

        146.   Admitted that Sharpe in consultation with other [PCCS officers rendered

  PCCS's decision not to make cash payment of purported deferred compensation and:


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                a. Denied;

                b. Admitted the Plaintiffs were terminated for reasons unrelated to the

                   deferred payment requests. Except as expressly admitted, denied;

                c. Admitted that Sharpe proposed an earned commission, which the

                   Plaintiffs agreed he deserved. Except as expressly admitted, denied.

         147.   Admitted that the Plaintiffs received equity shares in                  020 as

   compensation for their invested time and effort from 2019 until June of 2020. Except

   as expressly admitted, denied.

         148.   Denied.


                               EIGHTH CLAIM FOR RELIEF
                                  (Defamation—Sharpe)

         149.   The Defendant reasserts and incorporates by reference the an wers in

   the previous paragraphs as if fully set forth.

         150.   Admitted that Eastham is a private citizen of the United States.

   Admitted that Spark is a private citizen of a foreign country. Except as expressly

   admitted, denied.

         151.   Denied.

         152.   Admitted that the referenced draft correspondence was sent to the

   person referenced on the document and was not for distribution. To the e)itent the

   question calls for privileged matters, Sharpe invokes that privilege.              EXcept as

   expressly admitted, denied.

         153.   The allegations in Paragraph 153 constitute legal conclusions to which

   no response is required. To the extent a response is required, denied.

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         154.    The allegations in Paragraph 154 constitute legal conclusions to which

   no response is required. To the extent a response is required, denied.

         155.    Denied.

         156.    Denied.


                                NINTH CLAIM FOR RELIEF
                (Breach of Stock Redemption and Release Agreement—PCCS)

         157.    The Defendant reasserts and incorporates by reference the answers in

   the previous paragraphs as if fully set forth.

         158.    Admitted.

         159.    Denied.

         160.    Admitted that payment was offered by Spark, pproved by Sharpe, and

   refused by Eastham. Except as expressly admitted, denied.

         161.    Denied.


                                TENTH CLAIM FOR RELIEF
                             (N.C. Gen. Stat. §§ 55- 7- 42--Sharpe

         162.    The Defendant reasserts and incorporates by reference the answers in

   the previous paragraphs as if fully set forth.

         163.    Admitted.

         164.    The allegations set fOrth in Paragraph 164 reference a written document

   that is the best evidence of its contents. To the extent the allegations in Paragraph

   164 are inconsistent with the referenced document, they are denied.

         165.    Admitted.



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         166.   The factual allegations contained in Paragraph 166 are deni4d. The

   allegations in Paragraph 166 contain legal conclusions to which no response is

   required. To the extent a response to legal conclusions is required, denied.

         167.   Denied.

         168.   Denied.

         169.   Denied.


                             ELEVENTH CLAIM FOR RELIEF
                             (Fraudulent Transfer—Defendants)

         170.   The Defendants reassert and incorporate by reference the answers in

   the previous paragraphs as if fully set forth.

         171.   Admitted that the Plaintiffs are investors in PCCS. Except as expressly

   admitted, denied.

         172.   Denied.

         173.   Denied.

         174.   Denied.

         175.   Denied.

         176.   Denied.

         177.   Denied.

         178.   Denied.

         179.   Denied.




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                              TWELFTH CLAIM FOR RELIEF
                          (Pre-Judgment Attachment—Defendants)

         180.   The Defendants reassert and incorporate by il•eference the answers in

   the previous paragraphs as if fully set forth.

         181.   Denied.

         182.   Denied.

         183.   Admitted to the extent that assets of PCCS hare been delivered.

         184.   Denied.

         185.   Denied.


                                      COUNTERCLAIMS

         NOW COME Defendants/Counterclaim Plaintiffs Port City Contracting

   Services, Inc., and Robert P. Sharpe, complaining of the Plaintiffs/Counterclaim

   Defendants as follows:


                                              FACTS

         1.     As of the filing of the Complaint, PCCS was a service-Disabled Veteran

   Owned Business ("SDVOB") within the meaning of a program offered by the United

   States.    As a SDVOB. PCCS received preferential treatment in government

   contracting and procurement processes.

         2.     Sharpe is a service-disabled veteran by reason of post-traumatic stress

   disorder ("PTSD") caused by his military service.

         3.     To qualify as a SDVOB, a business must be majority owned and

   controlled by one or more service-disabled veterans.


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         4.     As Chief Financial Officer, Spark was responsible for keeping the books

   of PCCS, ensuring that payments to creditors were timely made, ensuring payroll

   was properly administered, and ensuring that officers and employees were

   compensated as agreed by the officers of PCCS. Spark is not a service disabled

   veteran.

         5.     As Chief Operating Officer and President of PCCS, Eastham was

   responsible for day-to-day operations, including tasks he specifically agreed to

   oversee or handle directly. Eastham is not a service-disabled veteran.

         6.     In December of 2020, Eastham, Spark, and Sharpe agreed to recognize

   the taxable value of new equity shares issued to them that month. For accounting

   and tax purposes, Spark recorded those equity values as "Manual Check" entries in

   the company's ledgers for amounts corresponding to those assigned as value to each

   shareholder's newly issued stock as follows:

                a. Sharpe, no new shares issued;

                b. Eastham, 1,204 shares issued at a value per share of $15 19 for a

                   total book value of $18,280.04;

                c. Spark, 1,916 shares issued at a value per share of $15.19 far a total

                   book value of $29,100;

                d. Jay Graves, 1,405 shares issued at a value per share of $1 .19 for a

                   total book value of $21.340;

                e. Ryan Albert, 1,150 shares issued at a value per share of $15.19 for a

                   total book value of $17,460.



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         7.    The shareholders had agreed that issued stock would compensate them

   for any invested work they had performed during the coiripany's formative period,

   when it was unable to hire employees.

         8.    On December 31, 2020, Spark made manual check entries in all the

   above-cited amounts but also made an actual payment to Eastham in the amount of

   $21,940.17, which he categorized as "Misc. pay."

         9.     The Plaintiffs knew at all times that a threshold requirement for a
                                                             I
   business to qualify as a SDVOB by the United States Depar ment of Veterans Affairs
                                                                     1
   is that a service-disabled veteran must maintain not only equitable majority

   ownership but control over the company.

         10.   The Plaintiffs knew at all times that one mea ure of "control" used by

   the United States is whether a service-disabled veteran owner is the. highest

   compensated employee in the company.
                                                                       1
                                                         I
         11.   By Spark giving, and Eastham receiving, a 1 payment of $21,940.17

   without Sharpe's knowledge, they increased Eastham's - ncome for 2020 above

   Sharpe's income in violation of SDVOB regulations.

         12.   PC CS, therefore, was presumptively disqualiied to do business as a

   SDVOB, which is its predominant business function. The surreptitious payment

   opens PCCS to liability to the United States and may distitualify it from receiving

   contracts as a SIWOR




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         13.    Whether or not the payment was legitimate, Spark and Eastham had a

   duty to inform the company that Sharpe's compensation for 2020 must be increased

   to ensure compliance with SDVOB regulations, but they did not do so.

         14.    The Defendants are informed and believe, and therefore allege; that the

   Plaintiffs conspired to use their positions of trust and confidence as officers f PCCS

   to cause it to issue unauthorized payment to Eastham and damage PCCS.

         15.    Their misapplication of PCCS funds on December 31, 2020, and

   omission to PCCS also was designed to ensure Sharpe would not easily discover the

   payment because, as the Plaintiffs well knew, PCCS would use a differerit payroll

   processing company beginning January 1, 2021. PCCS's pre-2021 payroll records

   would become inaccessible to Sharpe without elevated efforts he would only take if

   provoked by suspicion that his trusted partners in charge of the books, records, and

   operations of the company had misapplied company funds and/or failed td disclose

   the federal regulatory violation it caused.

         16.    Sharpe did not have reason to suspect wrongdoing on the part of the

   Plaintiffs until winter of 2021.

         17.    Sharpe, who had delegated the routine financial and taxation aspects of

   PCCS to Spark, did not inspect financial records pertaining to individual amployee

   payments unless prompted by Spark or some other circumstance requiring his

   attention as CEO.

         18_    In or about December of 2021, Sharpe reviewed internal corporate

   communications and discovered Eastham and Spark had been operating against him



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   in many respects, and against the interests of PCCS. He made it clear to both of them

   that. their conduct was unacceptable and then terminatel them as employees on

   December 14, 2021.

         19.     Spark contacted PCCS's telecommunications sTrvice provider, Verizon,

   and transferred business lines and payment plans for company property to himself

   on the day of his termination.

         20.     Spark had been issued two phones, two iPad tablets, and a laptop, all of

   which were owned by PCCS under payment plans with Verizon.                         After his

   termination, Spark kept the company's property.

         21.     Data constituting business opportunities, plans and contacts developed

   by Eastham, Spark, and Sharpe concerning PCCS's entry into pharmaceutical

   distribution was stored on those devices. The data did not exist on any other PCCS

   owned devices or storage services under its control once Spark converted PCCS's

   equipme.nt.

         22.     Spark's conversion of the devices to his own use, and to the exclusion of

   PCCS's ownership rights, thus also constituted misappropriation of PCCS's

   proprietary information.

         23.     A SDVOB must periodically apply for re-certificittion of its status, which

   PCCS was required to do in May of 2022.

         24.     A threshold requirement for recertification is the execution of a form by

   each owner of the SDVOB affirming his or her ownership interest and status as a




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   service-disabled veteran or not. The SDVOB cannot submit an applicatian to the

   United States for recertification without the required signatures.

         25.    The United States' requirement that each equity owner in a business

   that intends to operate as a SDVOB execute an affirmation of the type required by

   the United States creates a special relationship of trust and confidence between all

   shareholders and between each shareholder and the company. Where any owner

   could cripple the company's ability to function as intended by all shareholders by

   refusing to execute a statement accurately reflecting his or her ownership interest in

   that company, the shareholders and the company have entrusted each other with

   exercising duties of good faith, fair dealing, and loyalty, and thus created -fiduciary

   relationships among them.

         26.    Additionally, consistent with the principle that fiduciary relationships

   may be created by contract, the relationships between shareholders and the company

   are contractual in nature. A party to a contract has a duty to exercise any discretion

   in performance of that contract with good faith.

         27.    The Defendants asked Spark and Eastham to execute accurate

   affirmations of their ownership interests in PCCS in the form required by the United

   States in May and June of 2022, but acting in concert they refused.

         28.    By refusing to execute VA Form 877 accurately showing the existing

   shareholder interests in PCCS, the Plaintiffs breached their fiduciary obligations to

   other shareholders and PCCS.




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         29.    The Plaintiffs' refusal to execute VA Form 877 accurately showing the

  existing shareholder interests in PCCS was in bad faith and therefore breached their

  contractual duties.

         30.    As a result of the Plaintiffs' breaches of duty, P6CS lost its certification

  as a SDVOB, which was a lucrative line of business for the company.

         31.    Although the December 31, 2021, payment • to Eastham created a

   presumption that PCCS was disqualified from recertification, the United States

  provides grounds for qualification even when the service-disabled veteran is not the

  highest compensated employee.          The Plaintiffs' refusal to execute VA Form 877

  prevented PCCS from obtaining recertification under an exception despite the effect

  of the payment to Eastham.

         32.    The Defendants are informed and believe, and therefore allege, that

  evidence of breach of fiduciary and contractual duties on th part of employees and

  officers in making and accepting the payment would perm t PCCS to qualify as a

  SDVOB.

         33.    The Plaintiffs' refusal to execute Form 877, however, constitutes a

  willful and intentional breach of their duties to other shareh lders and PCCS.

         34.    As set forth herein, the Plaintiffs agreed to do unlawful acts or to

   perform lawful acts unlawfully, which caused injury to PCC and Sharpe; therefore,

   by virtue of their civil conspiracy. the Plaintiffs are jointly a d severally liable.




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                                    FIRST COUNTERCLAIM
                                   (Breach of Fiduciary Duties)

           35.    The Defendants reassert and incorporate by reference the allegations in

   the previous paragraphs as if fully set forth.

           36.    As corporate officers. Eastham and Spark were do jure fiduciaries of

   PCCS.

           37.    Additionally, Eastham and Spark owed fiduciary duties to PCCS and

   the other shareholders due to their special relationship of trust and confidence.

           38.    Because of the unique requirements established by the United States

   for SDVOBs, such a company, here PCCS, and its shareholders necessarily trusted

   each other to take the steps necessary to ensure the company's continued

   qualification to do business as a SDVOB. Without such a special relationship, the

   promise of continued operation as a SDVOB would be illusory; therefore, the

   shareholders and PCCS were in a de fiu.To fiduciary relationship.

           39,    The December 31, 2020, payment to Eastham caused PCCS to violate

   the terms of the SDVOB Program and therefore was at the time taken known or

   should have been known or believed by the Plaintiffs to be clearly in conflict with the

   best interests of the corporation.

           40.    Making and accepting that payment breached the Plaintiffs' 1duciary

   duties to PCCS.

           ,11.   The Plaintiffs also were asked to execute a truthful statement of their

   ownership interests in PCCS, which they refused to do, knowing that refusal was

   contrary to the interests of PCCS.


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         42.    Filing that statement., VA Form 877, was a prerequisite for PCCS to be

  re-certified as a SDVOB and was a required element of its aiplication.

         43.    Without a fully executed Form 877, PCCS could not apply to continue

  doing business as a SDVOB.

         44.    Were PCCS able to apply, it would have sought, and likely received,

  certification despite the misapplication of funds that presumptively disqualified it.

         45.    The Plaintiffs' breach of fiduciary duties to PCCS and Sharpe, who as a

  shareholder was owed de facto fiduciary duties set forth herein, caused PCCS to lose

  millions of dollars in government contracts that it would have been awarded as part

  of its ongoing business relationships with government agencies, and Sharpe lost

  employment income from the company's resulting failure.

         46.    As a direct and proximate result of the Plaintiffs' breach of fiduciary

  duties. PCCS and Sharpe have suffered direct and consequential damages in an

  amount exceeding twenty-five thousand dollars ($25,000).

         47.    The Plaintiffs' breach of fiduciary duties was wllful and wanton and in

  reckless disregard of the rights of PCCS and Sharpe, warranting punitive damages

  in an amount to be determined by the jury.


                                 SECOND COUNTERCLAIM
                                    (Breach of Contract)

         48.    The Defendants reassert and incorporate by reference the allegations in

   the previous paragraphs as if fully set forth.

         49.    Sharpe, PCCS, and the Plaintiffs were in a contractual relationship.



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         50.    The Plaintiffs owed a duty to Sharpe and PCCS as a shareholder to act

   in good faith when exercising discretion in their performance of the contract,

         51.    The Plaintiffs' refusal to execute Form 877 was in had faith in a willful

   effort to further injure Sharpe and PCCS.

         52.    The Plaintiffs' breach of contract caused PCCS to lose millions of dollars

   in government contracts that it would have been awarded as part of its ongoing

   business relationships with government agencies.

         53.    The Plaintiffs' breach of contract caused Sharpe to lose his investment

   in the company and employment income.

         54.    Sharpe therefore suffered injury separate and distinct from th injuries

   sustained by PCCS.

         55.    As a direct. and proximate result of the Plaintiffs' breach of contract,

   PCCS and Sharpe have suffered direct and consequential damages in an amount

   exceeding twenty-five thousand dollars ($25,000).


                                  THIRD COUNTERCLAIM
                                    (Conversion—Spark)

         56.    The Defendants reassert and incorporate by reference the allegations in

   the previous paragraphs as if fully set forth.

         57.    On the day of his termination from PCCS, Spark without autlhorization

   changed the account information on hardware owned by PCCS and did not return the

   property to PCCS.

         58.    Spark has exercised ownership of the property belonging to PCCS.



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         59.    Subject to its payment obligations, PCCS owned the phones, tablets and

  computer on which its irreplaceable and proprietary data was stored.

         60.    The Defendants are informed and believe, and therefore allege, that

  Spark exercised a right of ownership over PCCS's property to deprive PCCS of the

  data contained therein and to further injure its business.

         61.    As a direct, and proximate result of Spark's conversion, PCCS has

  suffered direct and consequential damages in an amount exceeding twenty-five

   thousand dollars ($25,000).


                               FOURTH COUNTERCLAIM
                         (In the Alternative—Unjust Enrichment)

         62.    The Defendants reassert and incorporate by re erence the allegations in

   the previous paragraphs as if fully set forth.

         63.    Eastham was enriched by his receipt of funds f'om PCCS that were not

   earned or owed.

         64.    Spark was unjustly enriched by his retention of PCCS property,

   including its valuable and proprietary data.

         65.    PCCS did not, confer such benefits on the Plaintiffs officiously or without

   expectation of compensation. Their enrichment, was unjust under the circumstances.

         66.    As a direct and proximate result of the Plaintiffs' breach of fiduciary

   duties PCCS has suffered direct and consequential damages in an amount exceeding

   twenty-five thousand dollars ($25,000).




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                                     FIFTH COUNTERCLAIM
                                     (Defamation — Eastham)

         67.       The Defendants reassert and incorporate by reference the allegations in

   the previous paragraphs as if fully set forth.

         68.       On July 8, 2022, Eastham contacted a business partner of Sharpe's,

   Mary Puncochar, former senior executive at Ascensia Diabetes Care, the primary

   client of PCCS and the foundation of its business with the Department of reterans

   Affairs.

          69.      Eastham wanted to do business with Ascensia, not knowing Puncochar

   had left that company. He texted her that, among other things, Sharpe had been

   found "guilty of fraud" and had "lied to the court."

          70.      Those are false statements published with the malicious intent to injure

   Sharpe's reputation and business relations.

          71.      Eastham said he "wanted to make sure you have facts when working

   with Trey."

          72.      Sharpe has never been found guilty of fraud or lied to a court. A true

   and accurate copy of this text message, which Puncochar provided to Sharpe, is

   attached as Exhibit A.

          73.      The July 8 email to Puncochar directly charged Sharpe with crimes of

   moral turpitude and unauthorized acts, or with improper, unlawful, or unethical acts

   or practices.

          74.      The communication tended to subject Sharpe to ridicule, public hatred.

   contempt and disgrace.


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         75.    The defamatory statements were false.

         76.    The      defamatory      statements       require   no    context,       inference,   or

   interpretation using facts not present in the publication itself to understand its

   meaning and were not made within any qualified or conditi nal privilege.

         77.    Eastham was referencing a separate civil matter in which two other

   companies, The DaVinci Company, 141.4C and DaVinci Aerospace, LI.AC (collectively the

   "DaVinci Companies"), obtained a default judgment again                  PCCS Inc. for various

   claims. Claims against Sharpe were not decided in any m anner, and he answered

   with a complete denial of all allegations.

         78.    When he made the defamatory statements to uncochar, Eastham was

   working with the owner of the DaVinci Companies, Daniel Thoaf, to force Sharpe to

   give up his voting stock in PCCS Inc. to Shoaf, which upon information and belief

   they had agreed would benefit Eastham and Spark.

          79.   Eastham knew or should have known with the exercise of reasonable

   diligence that the default judgment obtained in the DaVine Companies matter was

   only against PCCS Inc. and that none of the conduct alleg d in the Complaint had

   been decided on the merits against Sharpe.

         80.    Accordingly, Eastham published the defamatory statements with

   knowledge that they were false, with. reckless disregard for ,he truth, or with a high

   degree of awareness of their probable falsity. The publicaion thus was done with

   actual m alice.




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         81.   The only purposes of the publication were to injure Sharpe's reputation

  with an important business associate and to achieve leverage in Eastham's c:)11ateral

  plans to take over PCCS Inc. by potentially alienating an important                usiness

  associate from PPCS Inc. so long as Sharpe was in charge.

         82.   In so doing, Eastham conspired with other parties seeking to remove

  Sharpe from his position as the controlling owner of PCCS, Inc. Eastham consulted

  with those other co-conspirators, Spark and Shoaf, by sharing information meant to

   apply pressure on Sharpe to step down and thereby also resolve disputes with Shoal

         83.   Shoaf published similarly defamatory statements to PCCS Inc.'s CEO,

   Holly Grange with, upon information and belief, the same intent and for the same

   purpose that Eastham sent his defamatory message to Puncochar.

         84.   In furtherance of this common plan. Shoaf followed up his libelckis email

   with a telephone conversation during which he encouraged Grange to convince

   Sharpe to accede to their demands.

         85.   Shoals defamatory conduct. is the subject of a separate action filed

   concurrently with this Amended Answer and Counterclaims.

         86.    Eastham, Spark, and Shoaf directly communicated with ech other

   about their goal of ousting Sharpe from his voting shares in PCCH and achieving

   other goals to Sharpe's detriment.

         87.    The Defendants are informed and believe, and therefore allege, that an

   element of their agreement was to communicate defamatory matters to i*porta.nt




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  third parties for the purpose of undermining Sharpe's posiltion within his company

  and with business associates they believed to be of importa cc to Sharpe.

         88.   Shoaf, Eastham, and Spark, therefore, agreed to perform unlawful acts
                                                            I
  or to perform lawful acts unlawfully. Therefore. they are jTitly and severally liable

  for any damages awarded in either claim.

         89.   Sharpe has suffered actual damages to be determined by a jury.

         90.   While Sharpe need not have suffered actual damages from the libel per

  se, the malice with which it was done subjects the Defendant to an award of punitive

  damages to be awarded in an amount determined by the jury.

         91.   The existence of a civil conspiracy involving Eastham, Spark, and Shoaf

  subjects them both to joint and several liability.

         92.    The claim against Shoaf may be consolidated vith this action for trial

  on the claims for libel per se.



         WHERFORE, the Defendants pray as follows:

         1.     That the Plaintiffs have and recover nothing of these Defendants;

         2.     That PCCS Inc. has and recovers compensatory and consequential

  damages from the Plaintiffs, jointly and severally, in an anlount exceeding twenty -

  live thousand dollars ($25,000);

         3.     That Sharpe has and recovers compensatiry and consequential

  damages from the Plaintiffs, jointly and severally, in an amount exceeding twenty-

   five thousand dollars ($25,000);



                                        REISS & NUTT, PLIA:
                 1221 Floral Parkway, suite 104 - Wilmington, North CarOlina 28403
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                                                  -35-


          4.      That in the alternative to damages. PCCS receive restitution from the

   Defendants;

          5.      That the Defendants have and recover from the Plaintiffs, jointly and

  severally, punitive damages in an amount to be determined by the jury;

          6.      That the conspirators be held liable, jointly and severally, for all

   damages awarded due to their defamatory publications.

          7.      That the Defendants be awarded attorney's fees, jointly and           verally,

   as provided by law;

          8       That costs be taxed against the Plaintiffs, jointly and severally;

          9.      That this matter be consolidated with the concurrent action against

   Shoal'. for trial; and

          10.     For trial by jury on all issues so triable.



          Respectfully submitted this the                ay of August 2022.

                                                         REISS & NUTT, PLLC
                                                         Attorneys for Defendants


                                                By:                    or -Cm

                                                              ory Reiss
                                                         N.C. State Bar No. 41549
                                                         Email: wcreiss@reissnutt.com
                                                         Kyle J. Nutt
                                                         N.C. State Bar No. 43469
                                                         Email: kjnutWreissnutt.com
                                                         1221 Floral Parkway, Suite 104
                                                         Wilmington, NC 28403
                                                         Telephone: (910) 420- 4674
                                                         Facsimile: (910) 420-4637



                                           REISS & NU1T, PLI.0
                    1221 Floral Parkway. Suite 104 - Wilmington. North Carolina 28403
Case 23-00089-5-DMW         Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42           Page 103
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                                                -36-


                                 CERTIFICATE OF SERVICE

         I, the undersigned attorney, hereby certify that the foregoing document was
  duly served on the following persons, pursuant to Rule 5 of the North Carolina Rules
  of Civil Procedure by depositing the same in a postage-paid, properly addressed
  wrapper in a post office or official depository under the excl•disive care and custody of
  the United States Postal Service:

        Thomas Babel
        Davis Hartman Wright, LLP
        P.O. Box 11320 (28404)
        Wilmington, NC 28403
        Fax: (910) 756-4080
        tsb@dwlegal.com
        Attorneys for Plaintiff;

        This the        day of August 2022.

                                                       REISS & NUTT,1 MIX
                                                       Attorneys   Pefimclants




                                          Rmss &        , Pitt'
                   1221 Floral Parkway, Suite 104 - Wilmington, North Catilina 28403
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 NORTH CAROLINA                                       IN THE GENERAL COURT OF JUSTICE
                                                            SUPERIOR COURT DIVISION
 NEW HANOVER COUNTY                                              22 CVS 1507

 MARK EASTHAM; and                       )
 PETER SPARK                             )
                                         )
                             Plaintiffs, )
                                         )
 vs.                                     )
                                         )                           OBJECTION
 PORT CITY CONTRACTING SERVICES, INC; )
 ROBERT P. SHARPE, STONE BAY             )
 TACTICAL, LLC and SRS SUPPLY, LLC,      )
                                         )
                             Defendants. )


         COMES NOW The DaVinci Company, LLC ("DaVinci") pursuant to Rule 45 of the
 North Carolina Rules of Civil Procedure and hereby objects to the subpoena issued to it by
 Defendants in the matter above captioned. In support of this motion, DaVinci respectfully shows
 unto the Court as follows:

        1.      On July 27, 2022, Defendants issued to DaVinci a subpoena in the matter above
 captioned, directing DaVinci to produce certain documents. Attached hereto and labeled as
 EXHIBIT A is a copy of that subpoena (the "Subpoena").

        2.      DaVinci objects to producing documents in response to the Subpoena for several
 reasons. First, the Subpoena was not properly served upon DaVinci. Pursuant to Rule 45(b), a
 subpoena must be served by delivery to the person or by certified mail, return receipt requested.
 A copy of the Subpoena was left in a Post Office Box but was not signed for.

        3.     DaVinci further objects on the grounds that some requests seek information
protected by the attorney client privilege and/or work-product.

         4.      DaVinci further objects on the grounds that the Subpoena imposes and undue
burden and expense to it in the costs associates with electronic searching for requested documents,
because, among other reasons, the information sought would or should be obtainable from a party
to the litigation, there is no definitional section, nor search terms provided.

      5.     DaVinci further objects as the subpoena seeks confidential business information
and DaVinci and Defendant Port City Contracting Services, Inc. are competitors that have bid on
government contracts.

      WHEREFORE, DaVinci hereby objects to the Subpoena issued to it, that the Court grant
to DaVinci the costs associated with any production made pursuant to the Subpoena, and that the
Case 23-00089-5-DMW        Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42            Page 105
                                          of 280



 Court grant unto DaVinci such other and further relief as the Court may deem just and proper.


        This the 10th day of August, 2022.


                                          --------- -- ---.
                                      Kevin A. Rust (N.C. State Bar No. 35836)
                                      The DaVinci Company, LLC
                                      CARRUTHERS & ROTH, P.A.
                                      235 N. Edgeworth St. (27401)
                                      P.O. Box 540
                                      Greensboro, NC 27402-0540
                                      Telephone: (336) 379-8651
                                      Facsimile: (336) 478-1175
                                      Emails: kar@crlaw.com
Case 23-00089-5-DMW         Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42             Page 106
                                           of 280



                               CERIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served upon the parties by electronic

 mail and by first class mail, addressed as follows:

                               W. Cory Reiss
                               Kyle J. Nutt
                               Reiss & Nutt, PLLC
                               1221 Floral Parkway, Suite 104
                               Wilmington, NC 28403
                               Attorneys for Plaintiff
                               wcreiss@reissnutt.com
                               kjnuttareissnutt.com

        This the 10th day of August, 2022.

                                                /

                                       Kevin A. Rust (N.C. State Bar No. 35836)
                                       The DaVinci Company, LLC
                                       CARRUTHERS & ROTH, P.A.
                                       235 N. Edgeworth St. (27401)
                                       P.O. Box 540
                                       Greensboro, NC 27402-0540
                                       Telephone: (336) 379-8651
                                       Facsimile: (336) 478-1175
                                       Emails: kar@crlaw.com
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                  EXHIBIT A
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                                                                                                                       o, File No
       STATE OF NORTH CAROLINA
                                                                                                                  po                        22-( \ S-0015I 7

                                                                                                                            In The General Court 0 Justice
                    NIA HAMA ER                              County                                                       n District [x} Superior C urt Division
                                                                                             Additional Frio Numbers
      MARI% I AS IIIAN1 and PETER SPARK



       •      .               VERSUS
      POR1 ( 1 1 1* CONTRACTING SERVICES, INC.. ROBERT P                                                                        SUBPOENA
      N11ARPI . S IONE BAY lACTICAL, I.CC. and SRS SUPPLY.
      I Ls_      _.                                                               112                            G S IA I Rule 45 8 5) -61 11i3 15A 801 -act,'
             •,,4,.es.ni subpoena
                                          NOTE TO PARTIES NOT REPRESENTED BY COUNSEL: Subpoenas may be produced at your reveriest but muq be
       L. ! rratc Flamm'?     g Defendant Signed and issued by the office of the Clerk
                                                                                    _
                                                                                       of Superior Court or by a magistrate or judge                ____
           N3,,-. And ,:leloress 01Person- Subpoenaed                                        Meows Addtess
      'Wine Da‘ inci Company. LI.0                                                           The DaVinci Company. I IC
              o Daniel Ntaitheu Shoal
          11011 N Greene St.. Ste 2190                                              300 N Greene St.
          ' kircensboro                                               NC 27401-2167 Greensboro                                                                  NC 27401-2167
           - eierhorie                                                                       Telephone No
                                       (336) 253-3755
       YOU ARE COMMANDED TO: (check all that apply)
            acpear and testify in the above entitled action before the court at the place, date and time indicated below
            appear and testify, in the above entitled action at a deposition at the place date and time indicated below
       Lic; produce and permit inspection and copying of the following items, at the place, date and time indicated below
            '451 See attached list (List here if space sufficient)




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                                                                                             08/1212022
  'Reiss & Nutt. PLLC                                                                       Time To Appear/Produce Until Released
   1221 Floral Parkway. Suite 104                                                                                              5                                  Elm, 5751pm
   Wilmington                                                         NC        28403       Date
      Name And Address Of Applicant Or Applicants Attorney                                                                          07/27/2022
      W (or)  Reiss                                                                         Signature
      Reiss & Null. MEC
      1221 Floral Parkway, Suite 104                                                             0 Deputy CSC             DAsastaorcsc           Li C,eri:        Si.r.e,,,y, Co- •
      Wilmington                                                     NC         28403
                No (...9 Aookcarit Or Applicant's Attorney
                                                                                                 El Megostrote            NAlomey,DA             D D,„,„c,
                                                                                                                                                              I
                                       (910) 420-4674                                                                                            Ell .,:upc-ct- C n li r t :0 .V(

                                                                           RETURN OF SERVICE                      I
      I certify this subpoena was received and served on the person subpoenaed as follows
      By         personal delivery                             registered or certified mail receipt requested and attached
             Li telephone communication by Sheriff (use only for a witness subpoenaed to appear and testify)
             U telephone communication by local law enforcement agency (use only for a witness subpoenaed to appear and testify in a cnnunal cozei
                 NOTE TO COURT: If the witness was served by telephone cormnunrcation from a local law enforcement agency in a criminal Case the
                 court may not issue a show cause order or order for arrest against the witness until the witness has been served personally will the written
                   utipoena
                 I was unable to serve this subpoena Reason unable to serve
                                                                                                                                                                          -.
  •                 I jp,s4 Vote Served                Name Of AuMentecl Server (t)1e or prinb          Snyishire 01Authomed Server                      Tete
                         Doe
      NOTE TO PERSON REQUESTING SUBPOENA: A copy of this subpoena must be delivered mailed or faxed to the attorney tor each pa4v n
      If 3 party not represented by an attorney, the copy must be marled or delivered to the party This does not apply in criminal cases
           rf". f; 190 Pev Z.18                                       (PI,mr.oe see revecse rode)
          :10 l a driutimomiir: Office of the Courts
Case 23-00089-5-DMW          Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42              Page 109
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                                             EXHIBIT A

      Electronically Stored Information to be produced pursuant to Rule 15(d)(2) of th
      North Carolina Rules of Civil Procedure:

         I. All emails, text messages, chat strings, and other written or recorded
            communications, with attachments, between you (including your attorneys,
            your agents, your officers, or your employees) on one side and Mark Eastham
            or Peter Spark, or their attorneys, agents, officers or employees on the other
            side, concerning or about Port City Contracting Services, Inc.:

         0 .   All emails. text messages, chat strings and other written or recorded
               communications, with attachments, between you (including your attorneys,
               your agents, your officers, or your employees) on one side and Mark Eastham
               or Peter Spark. or their attorneys, agents, officers or employees on the other
               side, concerning or about Robert "Trey" Sharpe;

         3. All emails, text messages, chat strings and other written or recorded
            communications, with attachments, between you, (including your attorneys,
            your agents, your officers, or your employees) on one side and Mark Eastham
            or Peter Spark, or their attorneys, agents, officers or employees on the other
            side, concerning or about any entity known as "Stone Bay Tactical'. or Stone
            Bay Tactical, LLC;

        4. All emails, text messages, chat strings and other written or recorded
           communications, with attachments, between you (including your attorneys,
           your agents, your officers, or your employees) on one side and Mark Eastham
           or Peter Spark, or their attorneys, agents, officers or employees on the other
           side, concerning or about SRS Supply, LLC;

        5. All documents provided to or received from any attorneys. agents. officers, or
           employees of Mark Eastham concerning or about Port City Contracting
           Services, Inc.;

        G. All documents provided to or received from any attorneys, agents, officers Or
           employees of Mark Eastham or Peter Spark concerning or about Robert.
           —Trey" Sharpe:
Case 23-00089-5-DMW       Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42             Page 110
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         4.   All documents provided to or received from any attorneys. agents. office4or
              employees of Mark Eastham or Peter Spark concerning or about any ent i .y
              known as "Stone Bay Tactical'. or Stone Bay Tactical, 141.C:

         8. All documents provided to or received from any attorneys, agents. officer or
              employees of Mark Eastham or Peter Spark concerning or about SRS Supply.



         9. All calendar entries and scheduling messages concerning any meetings,
            teleconferences, or other scheduled communications with any attorneys.
            agents, officers, or employees of Mark Eastham or Peter Spark:

         10.A copy of the "OEM Authorized Distributor — Dealer Letter- you submitted to
            the United States Department of Veterans Affairs in support of your
            Standard Form 1449 for Solicitation No. 36C77022Q0076.
    Case 23-00089-5-DMW                 Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42                       Page 111
                                                       of 280


                                            6 ROTH,
C   I


    IL
                  CARRUTHERS
                    ATTORNEYS                  AT     LAW
                                                             P.A.
                                                                                                       Kevin A. Rust
                                                                                           Direct Phone 336.478-1133
                                                                                             Direct Fax 336.478.1134
                                                                                                      kar@crlaw. corn
                                                     August 10, 2022



        Via Federal Exoresst

    New Hanover County Courthouse
    Attn: Clerl& of Court
    316 Princess Street
    Wilmington, NC 28401

               Itet    Mark Easthant and Peter SItark v. Port City Contracting Services, Inc., et al.
                       New Hanover County; 22 CvS1507; Our File: 010594/72126

    Dear Madam Clerk:

           Enclosed please find an original and copies of DaVinci Company, LLC's Objection
    to Subpoena and Carruthers & Roth, PA's Objection to Subpoena to be filed in the above-
    captioned matter.

             Please file these documents and return all stamped filed copies to me. I have enclosed
    a self -addressed stamped envelope for your use.

               Thank you for your assistance. Please call if you have any questions.

               With kind regards, I am




                                                    evin A. Rust


    KAR: wc

    Enclosures




                 235 North Edgeworth Street ~ Post Office Box 540 (27402) ~ Greensboro, North Carolina 27401
           Telephone 336.379.8651 ~ Facsimile 336.273.7885 ~ Litigation Facsimile 336.478.1175 ~ www.crlaw.corn
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NORTH CAROLINA                                       IN THE GENERAL COURT OF JUSTICE
                                                           SUPERIOR COURT DIVISION
NEW HANOVER COUNTY                                              22 CVS 1507

MARK EASTHAM; and                                    )
PETER SPARK                                          )
                                                     )
                                      Plaintiffs,    )
                                                     )
                                                     )
                                                     )               OB JECTION
PORT CITY CONTRACTING SERVICES, INC;                 )
ROBERT P. SHARPE, STONE BAY                          )
TACTICAL, LLC and SRS SUPPLY, LLC,                   )
                                                     )
                                      Defendants.    )


        COMES NOW The DaVinci Company, LLC ("DaVinci") pursuant to Rule 45 of the
North Carolina Rules of Civil Procedure and hereby objects to the subpoena issued to it by
Defendants in the matter above captioned. In support of this motion, DaVinci respectfully shows
unto the Court as follows:

       l.      On July 27, 2022, Defendants issued to DaVinci a subpoena in the matter above
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       2.      DaVinci objects to producing documents in response to the Subpoena for several
reasons. First, the Subpoena was not properly served upon DaVinci. Pursuant to Rule 45(b), a
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A copy of the Subpoena was left in a Post Office Box but was not signed for.

        3.     DaVinci further objects on the grounds that some requests seek information
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burden and expense to it in the costs associates with electronic searching for requested documents,
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Case 23-00089-5-DMW         Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42             Page 113
                                           of 280



 Court grant unto DaVinci such other and further relief as the Court may deem just and proper.


        This the 10'" day of August, 2022.



                                      Kevin A. Rust (N.C. State Bar No. 35836)
                                      The DaVinci Company, LLC
                                      CARRUTHERS &, ROTH, P.A.
                                      235 N. Edgeworth St. (27401)
                                      P.O. Box 540
                                      Greensboro, NC 27402-0540
                                      Telephone: (336) 379-8651
                                      Facsimile: (336) 478-1175
                                      Emails: karQcrlaw.corn
Case 23-00089-5-DMW           Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42              Page 114
                                             of 280



                                CERIFI CATE OF SERVICE

       1   hereby certify that a copy of the foregoing was served upon the parties by electronic

mail and by first class mail, addressed as follows:

                                W. Cory Reiss
                                Kyle J. Nutt
                                Reiss & Nutt, PLLC
                                1221 Floral Parkway, Suite 104
                                Wilmington, NC 28403
                                Attorneys for Plaintiff
                                wcreissSreissnutt.corn
                                kinutt&reissnutt.corn

       This the 10'" day of August, 2022.



                                       Kevin A. Rust (N.C. State Bar No. 35836)
                                       The DaVinci Company, LLC
                                       CARRUTHERS & ROTH, P.A.
                                       235 N. Edgeworth St. (27401)
                                       P.O. Box 540
                                       Greensboro, NC 27402-0540
                                       Telephone: (336) 379-8651
                                       Facsimile: (336) 478-1175
                                       Emails: kar@crlaw.corn
Case 23-00089-5-DMW   Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42   Page 115
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                 EXHIBIT A
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           STATE OF NORTH CAROLINA                                                                                                       '2-("\'h-0()15()7

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                                               VERSUS
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                                              (33(i) 263.3733                            ~



           YOU ARE COIIIMANDED TO: (cocci ag Ihat aPPly)
           PI aCDear and teslrfy. in the above entitled action, before the court at the place, date and ttme indtcaled belovi
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              appear and testify, the above entitled action, at a deposrtion at the place. date and time rndtcated below
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                                            (')10) 420-4674                                                                                         5upenc C ., )uda

                                                                         RETURN OF SERVICE
       I   certify this suttpo na was received and served on the person subpoenaed as fol)ovis
          By     P  personal dalai ry                              pregistered or cerli(ied matt, receipt requested and attoched
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       NOTE TO PEPSON REOUESTING SUBPOENA: ll cop)'ol litle subpoena ruust lte deliveied rrtoiled or fated lo Ihe akumey for ea h partv in:lire case
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Case 23-00089-5-DMW               Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42                                Page 117
                                                 of 280




                                                    EXHIBIT A
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               your ngents, your officers, or. your cmployecs) on one side;ind hl irk E;&a&ham
               or. Pvtrir Spark, m their;ittorneys, agents, of'licvrs or employ&(as on th(. other

               side, concerning or;ibout. Port City Contr;ici.ing Services, Inc.:

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               your agents, your officers, or your employees) on one side an&I hlarl& East h;im
               or Peter Spark, or their nttorncys, agents, officers or employees on the other
               . id(i, concerning or about Robert "Trey" Sharpe;



        3. All en&Oils, text. messages, chat strings and other written or recoixlvd
           con&munici&tions, with:ittachments, between you, (including your nit&a neys.
           your ngvnts, your officers, or your vmployccs) on one side Und hlark E;istllilln
               or Peter Spark, or their attorneys, agents, officers or cnq&loyces on tl&e other
               side, concerning or about any entity known as "Ston&. Bay 'I'act iv:il" or Ston(.
               Biiv Tuci.ical, LLC:

        -'I.   All e&ni&its, text mcssagcrs chi&t s'tl'illgs i&lid othe&'vi'&tie&1 ol''ceo&'dvd
               communications, &vit h attachments, bet&vccn you (including your at turn(ys,
               your;&gents, your oflicers, or your employees) on one side and Xiii&rk Ea. thnm
               or Peter Spark, or their attorneys, agents, oflicers or employees on the o(her
               side, concerning or ibout SRS Supply, LLC;

               AII docuincnts provide&! to or i&cccived from:iny:&ttorn&.ys. agents. ogicvr.                (&r

               (imliloycvs of lvli&rk lr,;&sthi&n& concerning or al&out port City Contrncting
               Services, I&le.;

        (L     All documents provided to or. received frmn any;&ttorncys, m&ents, CIBicvr, or
               einployees of &»'I:&rl& Ensthnm or Pctcr Sp;&rk concerning or:&bout Rolicin
               "'I'r(iy" Shiirpe:
Case 23-00089-5-DMW        Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42                         Page 118
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           &n)pfoye('s of hi:&vk E;lsth im or Peter Sp;ivk concernin„&ir;iln)ur;iny cn(i(y
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           All clocunient. provided to or received from uny;ill &irnr ys,;i cnts of1ir& rs or
           (nnph)noes offal irk E let h lm or Peter Sp irk conrernfnl; or:llniut SOS Supply.
           I..I.C:


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           l ile   )nl'ere nces. roil ir scl r rfulc 1(s mmunir.; tion. iih i»y l (tor ey..
           (I "cnr,-., officers, or. cinpioyeec ofhinrk Ensthnm or Peter Sp:irk:



        10 A copy ol'he "OE&I Anthnvixed Distrihut()r — Denlev I r t rr r" you su 1)m it I('d lo
           the. I 'nilerl St;itc. Dep&irtment of vet(.nine Alfiin's ul sllppol'1 of
                     vou&'l;lnrlliisl
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NORTH CAROLINA                                         IN THE GENERAL COURT OF JUSTICE
                                                             SUPERIOR COURT DIVISION
NEW HANOVER COUNTY                                                22 CVS 1507

MARK EASTHAM; and                                      )
PETER SPARK                                            )
                                                      )
                                       Plaintiffs,    )
                                                      )
                                                      )
                                                      )               OB JECTION
PORT CITY CONTRACTING SERVICES, INC;                  )
ROBERT P. SHARPE, STONE BAY                           )
TACTICAL, LLC and SRS SUPPLY, LLC,                    )
                                                      )
                                       Defendants.    )


        COMES NOW Carruthers & Roth, PA (" Carruthers" ) pursuant to Rule 45 of the North
Carolina Rules of Civil Procedure and hereby objects to the subpoena issued to it by Defendants
in the matter above captioned. In support of this motion, DaVinci respectfully shows unto the
Court as follows:

       I.      On July 27, 2022, Defendants issued to Carruthers a subpoena in the matter above
captioned, directing DaVinci to produce certain documents. Attached hereto and labeled as
EXHIBIT A is a copy of that subpoena (the "Subpoena").

        2.      Carruthers objects to producing documents in response to the Subpoena for several
reasons. First, the Subpoena seeks production of privileged information.

        3.     Defendant Robert P. Sharpe in the above captioned action recently filed a lawsuit
against Daniel M. Shoaf, an officer of The DaVinci Company (the "Sharpe lawsuit" ).

       4.      The Sharpe lawsuit alleges, among other things, that Shoaf and Plaintiff Mark
Eastham in the above captioned action are subject to joint and several liability, and that the Sharpe
lawsuit should be consolidated in the above captioned action.

       5.      Carruthers represents Mr. Shoaf in the Sharpe lawsuit, and to the extent the Sharpe
lawsuit is consolidated with the above captioned action, Mr. Shoaf will be a party in this lawsuit
and Carruthers the counsel of record.

        6.      There are therefore several privilege issues, including but not limited to, attorney-
client privilege, work-product, and joint defense privilege.
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        7. Further, The DaVinci Company is currently in a lawsuit with Mr. Sharpe and Port City
Contracting Services, Inc., and given Mr. Shoaf's status of the CEO of The DaVinci Company,
further implicates privileged and confidential information.

         8.      Carruthers further objects on the grounds that the Subpoena imposes and undue
burden and expense to it in the costs associates with electronic searching for requested documents,
because, among other reasons, the information sought would or should be obtainable from a party
or parties that is presently in the above captioned litigation, there is no definitional section, no time
limitation, nor search terms provided.

       WHEREFORE, Carruthers hereby objects to the Subpoena issued to it, that the Court grant
to Carruthers the costs associated with any production made pursuant to the Subpoena, and that
the Court grant unto Carruthers such other and further relief as the Court may deem just and proper.

        This the 10'" day of August, 20



                                        Kevin A. Rust (N.C. State Bar No. 35836)
                                        CARRUTHERS 4 ROTH, P.A.
                                        235 N. Edgeworth St. (27401)
                                        P.O. Box 540
                                        Greensboro, NC 27402-0540
                                        Telephone: (336) 379-8651
                                        Facsimile: (336) 478-1175
                                        Emails: karScrlaw.corn
Case 23-00089-5-DMW          Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42              Page 121
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                                CKRIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served upon the parties by electronic

 mail and by first class mail, addressed as follows:

                               W. Cory Reiss
                               Kyle J. Nutt
                               Reiss tie Nutt, PLLC
                               1221 Floral Parkway, Suite 104
                               Wilmington, NC 28403
                               Attorneys for Plaintiff
                               wcreissQreissnutt.corn
                               kinuttSreissnutt.corn

        This the 10'" day of August, 20



                                       Kevin A. Rust (N.C. State Bar No. 35836)
                                       The DaVinci Company, LI,C
                                       CARRUTHERS ik ROTH, P.A.
                                       235 N. Edgeworth St. (27401)
                                       P.O. Box 540
                                       Greensboro, NC 27402-0540
                                       Telephone: (336) 379-8651
                                       Facsimile: (336) 478-1175
                                       Emails: karQcrlaw.corn
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                EXHIBIT A.
       Case 23-00089-5-DMW                                    Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42                                                  Page 123
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                                                                                                                             Frle No.

 STATE OF NORTH CAROLINA                                                                                                                           22-CVS-001507

                                                                                                                                    In The General Court Of Justice
              NEW HANOVER                                   CGUTI(y                                                                District        x Superior Court Division
                                                                                             Addkfi on sf   File Numbers
MARK EASTHAM and PETER SPARK


                                        VERSUS
                                                                                                                                        SUBPOENA
PORT CITY CONTRACTING SERVICES, INC., ROBERT P.
SI-IARPE, STONE BAY TACTICAL, LCC, snd SRS SUPPLY,                                                       G.S. 1A-1, Rule 45; 8-59, -61, -63; 15A-801, -802
LLC                                                                                                                          sf your request, but must be
Pany Rsqvesfing subpoena          I NOTE TO
                                            PARTIES NOT REPRESENTED BY COUNSEL: Subpoenas may be produced
                         e/sndeni        and issued by fhe office oflhe Clerk of Superior Court, or by a magislrate or)udge.
                      &&
                                          I
                                              signed
                                                                                             Alternate Address
    blame And Address Of Person Subpoenaed
    Carruthers & Roth, P.A.
    c/o Kenneth R. Keller, Registered Agent
    235 N. Edgeworth St.
    Greensboro                                                         NC         27401
                                                                                              Telephone No
    Teleplrone No.
                                       (336) 478-1125
 YOU ARE COMMANDED TO: (check all that apply)
                                                                                     date and time indicated below.
   appear and testify, in the above entitled action, before the court at the place,
                                                                        the  place, date and time indicated below.
   appear and testify, in the abave entitled action, at a deposition at
                                                                  items, at the place, date and time indicated below.
 X produce and permit inspection and copying of the following
   X See attached list. (List hereif space sufficieni)




                                                                                               Dale To Appear/Produce, Unbl Released
Name And Location Of Court/Place Of Deposrfron/Place To Produce
                                                                                                08/12/2022
                                                                                               Time To Appear/produce, unil Released
Reise & Nutt, PLLC
                                                                                                                                        5
1221 Floml Parkway, Suite 104
                                                                        NC        28403        Dale
Wilmington                                                                                                                                  07/27/2022
Name And Address Of Applicant Or Applicanl's Attorney
W. Cory Reise                                                                                  Sfgnatur~e

Reise & Nutt, PLLC
 1221 Floral Parkway, Suite 104
                                                                        NC        28403
                                                                                                        Deputy CSC          P           Assistant CSC

 Wilmington                                                                                             Magistrate                 X Afforney/DA
Telephone No Of Applicant Or Appircanfs Aflomey
                                      (910) 420-4674
                                                                                                       I"n~;-4 +Br~."'))8')aegb - vigaevg II
              b   '"" s"'""ll "'14@'"Evgvd-gg'Ilk/vpr'h;rdI'I   RETURN OF SERVICE
 I certify this subpoena was received
                                          and served on the person subpoenaed as follows:
 By         personal delivery.                            registered or certified mail, receipt requested and attached.
                                                                                                      and testify).
            telephone communication by Sheriff (use only for a witness subpoenaed to appear
                                                                                         Fora   witness   subpoenaed lo appear and leslify fn a criminal case).
            telephone communication by local law enforcement agency (use only                                 enforcement agency in a criminal case, iha
                                                               lelephone communication    from   a local law
             NOTE TO COURT: IF the witness was served by                                          the witness  has been served personaly wilh the written
                                                                                   witness  unlil
             court may not issue a show cause order or order for enesi againsi lhe
              subpoena.
              I   was unable to serve this subpoena. Reason unable to serve:
                                                           Name Of Aulhorized Server(b'peur pring                Sfgrrature Of Aufhorized Server
Ser ice Fes          paid       Dale Served            I

$                    Due                                                                                     j
                                                                                                                                                this case.
                                                                   subpoena musl be delivered, mailed or fazed to lhe attorney for each partyin
                            [


  NOTE TO PERSON REQUESTING SUBPOENA: A copy of this                                                    does not       in criminal cases.
                                                         must be mailed or delivered to the party. This          apply
  If a parly fs not represented by an alforney, lhe copy
                                                                     (Pfease see reverse side)
   AOC-G-100, Rev. 2I18
       2018 Administrative Office of the Courts
       Case 23-00089-5-DMW                                Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42                                                                  Page 124
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                          45, North Carolina Rules of Civil Procedure, Subsections
                                                                                                    (c) and (d).
                        n of Persons Subject to Subpoena


                        and service of a subpoena shall take reasonable steps to avoid                           (6) Order to comoel exoensvc ln co~mt with subooens. - When a court
                                                                                                                                                                                             enters an
                        burden or expense on a person subject lo the subpoena. The imposing                          order compelling a deposition or the production of records. books,
                                                                                                                                                                                          papers,
                                                                                        court shall                  documents, electronicaliy stored information, or other tangible thugs, the
                         s subdivision and impose upon Ihe party or attorney in violation                                                                                                         order
                                                                                           of this                   shaft protect any person who is not a party or an agent of a party from
                        nt an appropriate sanction that may include compensating                                                                                                              signiTrcanl
                                                                                     the person                      expense resulting from complying with Ihe subpoena. The court may order that
                         dened for lost earnings and for reasonable attorney's fees.                                                                                                                    Ihe
                                                                                                                     person lo whom ihe subpoena is addressed will be reasonably compensated
                                                                                                                                                                                                      for
       t2)F r       u     on f u rcre   ordvo ho iat          i   I     rds.-Wherelhe subpoena                       the cost of producing the records, books, papers, documents, electronicsfly
                                                                                                                                                                                                    stored
            commands any custodian of public records or any custodian of                                             information, or tangible things specified in the subpoena.
                                                                                hospital medical
            records, as de(mad in G.S. 8-44.1, lo appear (or the sole
                                                                         purpose of produong                    (7) Trade seen.ts conadential information. - When a subpoena requires drsclosure
            certain records rn the custodian's custody, the custodian                                                                                                                                 of a
                                                                        subpoenaed may, in                          trade secret or other confidential research, development, or commeroal
            lieu of personal appearance, lender to Ihe court in which                                                                                                                         information,
                                                                        Ihe action rs pending by                    a court may, lo protect a person sublect to or affected by the subpoena,
           registered or cenilied mail or by personal delivery, on or before                                                                                                                  quash or
                                                                                the lime speufred                   modrfy Ihe subpoena, or when Ihe party on whose behalf Ihe subpaens
           rn Ihe subpoena, cerlified copies of the records                                                                                                                                  is issued
                                                             requested together vvrth a copy of                     shows a substantial need for Ihe testimony or malenel that cannot otherwise
           the subpoena and an affidavit by fhe custodian tesb(ying thai                                                                                                                           be nret
                                                                             the copies are true                      without undue hardship, the court may order a person lo make an
           and correct copies and that the records vvere made and                                                                                                                      appearance or
                                                                       kept in Ihe regular course                     produce the matenals only on speofred conditions stated in the order.
          of business, or if no such records are in Ihe custodian's
                                                                       custody, an atsdavit to thai
          effect. wires the copies of records are personasy delivered
          a receipt shall be obtained from the person receiving the records
                                                                           under Ibis subdivision,              (8)   ~rr         ash excensss . When a court enters an order quashing or ntodkfytng
                                                                                   Any onginal or                     Ihe subpoena, the court msy order the party on whose behalf lhe
          cenrfied copy of records or an affidavii delivered                                                                                                                          subpoena a
                                                              according to the provisions of Ibis                     issued lo pay ag or part o( Ihe subpoenaed person's reasonable expenses
          subdivision, unless othenxise objectionable, shall be admissible                                            induding attorney's fees.
                                                                                 in anY action or
          proceeding without funher cenrfrca lion or authentication. copies
                                                                                 of hospd at medrcaf
          records tendered under Ibis subdivision shall not be open to
                                                                           inspection or copied by          (d) Duties in Responding to Subpoena
          any person, except to the panies to the ease or proceedkngs and
                                                                                  their attorneys in
         depositions. unlit ordered published by Ihe judge at Ihe lime of the
         Nolhrng conlarned herein shag be construed lo waive Ihe
                                                                                    hearing or Inal         (I) FgalLqffrsggnes. - A person responding lo a subpoena to produce records,
                                                                        physician-patient privilege                   books, documents. eleclronicafly stored mformason. or langrble things shall
         or lo require any privileged communication under faw
                                                                   lo be disclosed.                                   produce them as they are kept in Ihe usual course of business or shall organize
     (3) ~wn en rtkgro~no~bgnns. - subject to subsection                                                              and label them to correspond with the calegories in Ihe request.
                                                                      (d) of Ibis rule, a person
         commanded lo appear at a deposition or lo produce and permit lhe inspection                        (2) Form of crod~in
         copying of records, books, papers. documents. electronically
                                                                                                 and                                 clronicsllv stored informsbon noJSsjfied. - If a subpoena
                                                                             stored information,                does nol speofy a form for producing electronically stored informalron,
         or langible Ihings may, wshfn 1D days after service of                                                                                                                         Ihe person
                                                                    Ihe subpoena or before the                  responding must produce il in a form or forms in which rt ordmanly rs maintsmed
         bme specised for compliance if Ihe time is less                                                                                                                                         or
                                                            than 10 days after service, serve                   rn a reasonably useable form or forms.
         upon the party or the attorney designated in Ihe subpoena
                                                                          written objection lo the
        subpoena. setting forth the specrsc grounds for Ihe objection. The written
        shall comply rvrih Ihe requirements of Rule 1\. Each of                             objection
                                                                     the folfovnng grounds may                    no! produce the same eleclronicagy stored information in more than
        be suffrcieni (or objecting lo a subpoena:                                                                                                                                          one form
               a. The subpoena fails lo aflow reasonable time for compliance.                              (4) ~fnscce rble electron(guilty stored information. - The person responrang
                                                                                                                                                                                          need
               h The subpoena requires dksclosure of                                                           not provide discovery of eleclronicagy stored information from sources
                                                        pnvileged or other protected matter                                                                                              Itrat Ihe
                   end no exceplron or waiver applies lo lhe privrlege or protection.                          person iden trfies as not reasonably accessrble because ot undue burden
                                                                                                                                                                                            or cost
               r.. The subpoena subjects a person la
                                                       an undue burden or expense.                             On mobon lo compel discovery or for a protective order, the person
                                                                                                                                                                                      respondrnq
               d. Tire subpoena is otherwise unr asonable or oppressive.                                       must show that Ihe rnformalion is nol reasonably accessible bec" use of
                                                                                                                                                                                          undue
               e Tfte subpoena rs procedur*ay defective.                                                       burden or cost If Ihat shor rng is made, Ihe cot rl
                                                                                                                                                                   may rtonelheloss orrler drsr over,
                                                                                                               from such sources if Ihe requesang pany sttows good cause.
     i4) (jtttdr of counnr~urr IUoctvernde obfscjr m - If objection is                                                                                                        sf ter consrdenng
                                                                           made under                         Ihe kmilabons of Rule 26(b)(la).The coun may speofy conditions for
          subdrwston N) of Ihrs subsection, Ihe party serving Ihe                                                                                                                      drscovery,
                                                                     subpoena shall nol be                    including requiring the pany that seeks dhscovery from a
          enlrged lo compel Ihe subpoenaed person's appearance                                                                                                            nonparty lo bear Ihe
                                                                       ate deposition or lo                   costs of locating, preserving, cosseting, and producing the eleclronicasy
          inspect and copy malenals lo which an objection has been made                                                                                                                    stored
                                                                                 except pursuant              information involved
          lo an order of the coed. If objection is made, the
                                                             party serving the subpoena may,
          upon notice lo the subpoenaed person. move at any time for
                                                                            an order lo compel
          the subpoenaed person's appearance at Ihe deposifion                                                   Ihe objection that it is subject to protection as liial preparation
                                                                     or Ihe production of Ihe                                                                                        materials, or thai
         materials destgnaled in Ihe subpoena. The motion                                                        it is otherwise privileged, the obieclion shall be made with
                                                               shall be filed rn Ihe court rn the                                                                           speciiicily and shall be
         county in which the deposition or producbon of maleriafs                                                supported by a description of Ihe nature of the communicabons, records,
                                                                      is lo occur.                                                                                                          books,
                                                                                                                 papers, documents, electronically stored rnformabon, or other tangrble
    (5)Moi n o            h r      if su
                                                                                                                                                                                          Ihmgs nol
                                                 .-Apersoncommandedtoappearala                                   produced, su(ficient for Ihe requesbng pany to contest Ihe objection.
         Irial, hearing, deposition, or to produce and
                                                       permit Ihe inspection and
         records, books, papers, documents, electronically stored information, copying oi
                                                                                    or other
        tangible things, wilhrn 10 days after service of the subpoena or
                                                                              before ihe lime
        specified for compliance if the lime is less than 10 days aller
                                                                           service, may file
        a motion to quash or modify Ihe subpoena. The court shalt




L
                                                                        quash or modify lhe
        subpoena if Ihe subpoenaed person demonstrates the existence of
        reasons set lorth in subdivision(3) of this subsection The motion any of the
                                                                                shag be filed
        in the court rn the county in which the Inal,
                                                      hearing, deposition, or production of
       materials rs to occur.


                                                                           INFORI)(IATION FOR WITNESS
NOTE: if you have any quesfrons about being subpoenaed
                                                                      as a witness, you should confacl lee person named on Page One of ibis
Address Of Appiicsnl Or Applicant's Adorney."                                                                                                           Subpoena m gre box labeled "iveme And
DUTIES OF A WITNESS
~                                                                                                     8RIBING OR THREATENING A WITNESS
      Unless otherwise directed by Ihe presiding judge, you must answer
                                                                        ag questions                      a violabon of State faw for anyone to attempt lo bnbe, threaten, harass, or
                                                                                                        II is
      asked tvhen you are on Ihe stand giving testimony.
                                                                                                     inlimrd ale a witness. g anyone attempts to do any of these
     In answenng questions, speak clearly and
                                                                                                                                                                  Ihings concerning your
                                               loudly enough lo be heard.                            involvement as a witness in a case, you should promptly report that
                                                                                                                                                                             to the district
v    Your answers lo questions must be Irulh(ul.                                                     attorney or Ihe presiding judge.
~    If you are commanded lo produce any
                                         items, you must bring them with you to court                WITNESS FEE
     or to Ihe depositron.                                                                          A witness under subpoena and that appears in court lo testify, is entitled
                                                                                                                                                                                   to a small
     You must continue to attend court until released                                               daily fee, and to travel expense reimbursement, if it ts necessary
                                                                                                                                                                         lo travel outside the
                                                      by Ihe courb You must continue lo             county in order lo testify. (The fee for an expert witness" will be set
     agend a deposition until Ihe deposition is completed.                                                                                                                   by the presidrng
                                                                                                    judge.) After you have been discharged as a witness, If you desire lo collect the
                                                                                                    slaiutory fee, you should immedrately contact Ihe Clerk's oflice and
                                                                                                                                                                            certify your
AOC-G-100, Side Two, Rev. 2/18                                                                      attendance as a witness so that you will be paid any amount due
                                                                                                                                                                         you.
 2018 Administrative Office of the Courts
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                                     EXHIBIT A

 Electronically Stored Information to be produced pursuant to Rule 45(d)(2) of the
 North Carolina Rules of Civil Procedure:
       All emails, text messages, chat strings, and other written or recorded
       communications, with attachments, between you (including your attorneys,
       your agents, your officers, or your employees) on one side and Mark Eastham
       or Peter Spark, or their attorneys, agents, officers or employees on the other
       side, concerning or about Port City Contracting Services, Inc.;

       All emails, text messages, chat strings and other, written or recorded
       communications, with attachments, between you (including your attorneys,
       your agents, your officers, or your employees) on one side and Mark Eastham
       or Peter Spark, or their attorneys, agents, officers or employees on the other
       side, concerning or about Robert "Trey" Sharpe;

    3. All emails, text messages, chat strings and other written or recorded
       communications, with attachments, between you, (including your attorneys,
       your agents, your officers, or your employees) on one side and Mark Eastham
       or Peter Spark, or their attorneys, agents, officers or employees on the other
       side, concerning or about any entity known as "Stone Bay Tactical" or Stone
       Bay Tactical, LLC;

       All emails, text messages, chat strings and other written or recorded
       communications, with attachments, between you (including your attorneys,
       your agents, your officers, or your employees) on one side and Mark Eastham
       or Peter Spark, or their attorneys, agents, officers or employees on the other
       side, concerning or about SRS Supply, LLC;

       All documents provided to or received from any attorneys, agents, officers, or
       employees of Mark Eastham concerning or about Port City Contracting
       Services, Inc.;

       All documents provided to or received from any attorneys, agents, officers or
       employees of Mark Eastham or Peter Spark concerning or about Robert
       "Trey" Sharpe;
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    7. All documents provided to or received from any attorneys, agents, officers or
       employees of Mark Eastham or Peter Spark concerning or about any entity
       known as "Stone Bay Tactical" or Stone Bay Tactical, LLC;

                                                                     officers or
    8. All documents provided to or received from any attorneys, agents,
       employees of Mark Eastham or Peter Spark concerning or about SRS Supply,
       LLC;

    9. All calendar entries and, scheduling messages concerning any meetings,
       teleconferences, or other scheduled communications with any attorneys,
       agents, officers, or employees of Mark Eastham or Peter Spark;
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   STATE OF NORTH CAROLINA
                                                F IINFIIRE
                                                             GENERAL COURT OF JUSTICE
                                                           SUPERIOR COURT DIVISION
   COUNTY OF NEW HANOVER
                                           PA AUG I 1      MIT-igta: 22-CVS-001507
   MARK EASTHAM
   And PETER SPARK,                       NEW NANO R CO., C.S.C.
                                           BY   )
                Plaintiffs,                     )
                                                    )
   vs.                                              )
                                                    )
   PORT CITY CONTRACTING                                         MOTION TO COMPEL
                                                    )
   SERVICES, INC., ROBERT P. SHARPE,                )
   STONE BAY TACTICAL, LLC, and SRS                 )
   SUPPLY, LLC,                                     )
                                                    )
                Defendants.                         )
                                                    )


         NOW COME the Defendants, by and through counsel, pursuant to Rule

  45(c)(4), and move the Court for an Order compelling compliance with subpoenas

  issued to and served on The DaVinci Company, LLC and Carruthers & Roth, PA, to

  which those parties objected on or about August 10, 2022, true and accurate copies of

  which are attached as Exhibits A and B.




                                                        A TRUE. COPY
                                                                   COURT
                                                CLERK OF SUPERIOR
                                                  NEW HANOVER COUNTY
                                                  BY: Tatricia3i. C
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                                       REISS & NUTT, PLLC
                 1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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       Respectfully submitted this the 11th day of August 2q22.

                                                    REISS & MITZI PLLC
                                                    Attorneys for Defendants


                                            By:
                                                    W. Cory      s
                                                    N.C. State Bar No. 41549
                                                    Email: wcreiss@reissnutt.corn
                                                    Kyle J. Nutt
                                                    N.C. State Bar No. 43469
                                                    Email: kjnuttlreissnutt.com
                                                    1221 Floral Parkway, Suite 104
                                                    Wilmington, NC 28403
                                                    Telephone: (910) 420-4674
                                                    Facsimile: (910) 420-4637




                                       Ross & Nurr, PLLC
                1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
Case 23-00089-5-DMW      Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42             Page 129
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                               CERTIFICATE OF SERVICE

         1, the undersigned attorney, hereby certify that the foregoing document was
  duly served on the following persons, pursuant to Rule 5 of the North Carolina Rules
  of Civil Procedure via United States Postal Service:

        Thomas Babel.
        Davis Hartman Wright, LLP
        P.O. Box 11320 (28404)
        Wilmington, NC 28403
        Fax (910) 756-4080
        Email: tsh@dhwlegal.com
        Attorneys for Plaintiffs

        Kevin A. Rust
        Carruthers & Roth, P.A.
        235 Edgeworth St.
        Greensboro, NC 27402
        Attorneys for Respondents Carruthers & Roth, PA., and The Da Vinci
        Company. LLC

        This the 11th day of August 2022.

                                                     REISS & NUTT, MIX
                                                     Attorneys for Defendants




                                         REISS & NUTT, PLLC
                 I 221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
Case 23-00089-5-DMW   Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42   Page 130
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  STATE OF NORTH CAROLINA                     F LI§ 9HE GENERAL COURT OF JUSTICE'
                                                         SUPERIOR COURT DIVISION
  COUNTY OF NEW HANOVER                                    FILrEANO.: 22-CVS-001507
                                         2i22 ttUG I I A 1 1• D U
  MARK EASTHAM                                     )
  And PETER SPARK,                      NEW BANNER CO., C.S.C.
                                                   )
              Plaintiffs,
                                                   )

                                                                NOTICE OF HEARINo
  PORT CITY CONTRACTING
  SERVICES, INC., ROBERT P. SHARPE,
  STONE BAY TACTICAL, LLC, and SRS
  SUPPLY, LLC,
                                                   )
              Defendants.                          )
                                                   )


       PLEASE TAKE NOTICE that the undersigned will bring this matter on for

 hearing, in person, before the New Hanover County Superior Court Judge presiding

 upon Defendants' Motion to Compel, on September 8, 2022, at the Non-Jury Civil

 Session of New Hanover County Superior Court, New Hanover County Courthouse,

 Wilmington, North Carolina, at 9:30 a.m., or as soon thereafter as the matter may be

 reached or as scheduled by the Court. The Plaintiff anticipates the hearing will last

 approximately 45 minutes.




                                                                      A TRUE
                                                              CLERK OF             Copy
                                                                              SUPERIOR COURT
                                                                  NEW HANOVER
                                                                 BY: Patric-41 Yet COUNTY
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                                                                                 cwi%•rior ;Min



                                       REISS & NUTT, PLLC
                 1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
Case 23-00089-5-DMW     Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42             Page 139
                                       of 280




       Respectfully submitted this the 11th day of August 2022.

                                                    REISS & Nurr PLLC
                                                    Attorneys for Defendants


                                            By:
                                                    W. Cory    les
                                                    N.C. State Bar No. 41549
                                                    Email: wcreiss@reissnutt.com
                                                    Kyle J. Nutt
                                                    N.C. State Bar No. 43469
                                                    Email: kjnutt@reissnutt.com
                                                    1221 Floral Parkway, Suite 104
                                                    Wilmington, NC 28403
                                                    Telephone: (910) 420-4674
                                                    Facsimile: (910) 420-4637




                                       RE1Ss & Nurr, Nix
                1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
Case 23-00089-5-DMW      Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42             Page 140
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                                               -3-


                               CERTIFICATE OF SERVICE

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  of Civil Procedure via United States Postal Service:

        Thomas Babel
        Davis Hartman Wright, LLP
        P.O. Box 11320 (28404)
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        Fax: (910) 756-4080
        Email: tsb@dhwlegal.com
        Attorneys for Plaintiffs

        Kevin A. Rust
        Carruthers & Roth, PA.
        235 Edgeworth St.
        Greensboro, NC 27402
        Attorneys for Respondents Carruthers & Roth, PA., and The Da Vinci
        Company. LLC

        This the 11th day of August 2022.

                                                     REISS & Nurr, PLLC
                                                     Attorneys for Defendants


                                             By:




                                         REISS & Nun-, PLLC
                 1221. Floral Parkway, Suite 103 - Wilmington, North Carolina 28403
Case 23-00089-5-DMW           Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42        Page 141
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  STATE OF NORTH CAROLINA                           !,INTI,IrTh GENERAL COURT OF JUSTICE
                                                            SUPERIOR COURT DIVISION
  COUNTY OF NEW HANOVER                                         II NO.: 22-CVS-001507
                                          Z Z2       IZ       i;
  MARK EASTHAM                                      .)
  And PETER SPARK,
                                                     )
                Plaintiffs,                         -)
                                                     )
  VS.                                                )
                                                     )                    ANSWER
  PORT CITY CONTRACTING                              )
  SERVICES, INC., ROBERT P. SHARPE,                  )
  STONE BAY TACTICAL, LLC, and SRS                   )
  SUPPLY, LLC,

                Defendants.                                TRUE Copy'
                                                  CI413K OF
                                                              SUPERIOR COURT
                                                    NEW HANOVER
                                                  BY: _McfielTe        COUNTY
                                                  Deputy Clerk of 112. .91itcheff
                                                                  Superior Court

        NOW COME Defendants Stone Bay Tactical, LLC and SRS Supply, LLC, by

  and through undersigned counsel, and Answer the Complaint as follows:


                           FIRST AFFIRMATIVE DEFENSE
                        (Failure to State a Claim—Rule (12)(b)(6))

        The Plaintiffs' claims should be dismissed on the grounds that they fail to state

  claims for which relief can be granted.


                              SECOND AFFIRMATIVE DEFENSE
                                 (Failure to Mitigate Damages)

        The Plaintiffs' contract-based claims are barred on the grounds that they failed

  to mitigate their damages.




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                              THIRD AFFIRMATIVE DEFENSE
                                   (Breach of Contract)

           The Plaintiffs' contract-based claims are barred because the Plaintiffs first

   breached their contractual obligations, relieving the Defendants of any obligation to

   perform.


                             FOURTH AFFIRMATIVE DEFENSE
                                    (Unclean Hands)

           The Plaintiffs' claims for equitable relief are barred by to their own inequitable

   conduct.


                               FIFTH AFFIRMATIVE DEFENSE
                                  (Business Judgment Rule)

           The Plaintiffs' claims are barred in whole or part by the business judgment

   rule.




                                               PARTIES

           1.     Admitted.

           2.     Admitted that Peter Spark is a resident of New Hanover County, North

   Carolina. It is denied that Spark is a citizen of New Hanover County, North Carolina.

           3.     Admitted.

           4.     Admitted.

           5.     Admitted as to Stone Bay Tactical, LLC.

           6.     Admitted as to SRS Supply, LLC.

           7.     Admitted.

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                              JURISDICTION AND VENUE

        8.     Admitted.

        9.     Admitted.

        10.    Admitted.


                                            FACTS

        11.    Admitted that one of the business activities conducted by Defendant

  PCCS is supplying diabetes testing strips, for which its primary customer is the U.S.

  Department of Veterans Affairs. Except as expressly admitted, denied.

        12.    The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        13.    The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        14.    The allegations in this paragraph of the Complaint are not addressed to

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  extent a response is required, denied.

        15.    The allegations in this paragraph of the Complaint are not addressed to

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  extent a response is required, denied.




                                        Russ & Nurr, PLLC
                 1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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        16.    The allegations in this paragraph of the Compl7nt are not addressed to

  either of these answering Defendants and therefore no respre is required. To the

  extent a response is required, denied.

        17.    The allegations in this paragraph of the Complaint are not addressed to

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        18.    The allegations in this paragraph of the Complaint are not addressed to

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        19.    The allegations in this paragraph of the Compl7int are not addressed to

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        20.    The allegations in this paragraph of the Compl int are not addressed to

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  extent a response is required, denied.

        21.    The allegations in this paragraph of the Complaint are not addressed to

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  extent a response is required, denied.

         22.   The allegations in this paragraph of the Comp11aint are not addressed to

  either of these answering Defendants and therefore no resrnse is required. To the

  extent a response is required, denied.




                                         REISS & Ntrrr, PLLC
                  1221 Floral Parkway, Suite 104 - Wilmington, North Caolina 28403
Case 23-00089-5-DMW       Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42            Page 145
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                                                -5-


        23.    The allegations in this paragraph of the Complaint are not addressed to

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        24.    The allegations in this paragraph of the Complaint are not addreseds to

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        28.    The allegations in this paragraph of the Complaint are not addressed to

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        29.    The allegations in this paragraph of the Complaint are not address to

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                                         REISS & Nurr, PLLC
                  1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
Case 23-00089-5-DMW       Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42             Page 146
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                                                -6-


         30.    The allegations in this paragraph of the Complaint are not addressed to

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         31.    The allegations in this paragraph of the Complaint are not addressed to

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         34.    The allegations in this paragraph of the Comp' aint are not addressed to

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          35.   The allegations in this paragraph of the Comp aint are not addressed to

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                                          REISS & Nurr, PLLC
                   1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
Case 23-00089-5-DMW       Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42            Page 147
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        37.    The allegations in this paragraph of the Complaint are not addressed to

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        38.    The allegations in this paragraph of the Complaint are not addressed to

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        43.    The allegations in this paragraph of the Complaint are not addressed to

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                                         REISS & NUTT, PLLC
                  1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
Case 23-00089-5-DMW       Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42            Page 148
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        44.    The allegations in this paragraph of the Compl int are not addressed to

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                                         REISS & Nurr,
                  1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
Case 23-00089-5-DMW        Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42            Page 149
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                                                 -9-

        51.    The allegations in this paragraph of the Complaint are not addressed to

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        52.    The allegations in this paragraph of the Complaint are not addressed to

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        56.    The allegations in this paragraph of the Complaint are not addressed to

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  extent a response is required, denied.

        57.    Denied.

        58.    Denied that Sharpe is the majority member and manager of Stone Bay

  Tactical, LLC.    Denied that Stone Bay Tactical, LLC is a licensed gun dealer.

  Admitted that Stone Bay Tactical, LLC was formed in part to sell weapons and



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  related goods to veterans through an online retail establishment and to split profits

  with PCCS.

         59.   Admitted that Sharpe traveled to Las Vegas for an industry show as a

  representative of PCCS d/b/a Stone Bay Tactical. Except as expressly admitted,

  denied.

         60.   Admitted that "Stone Bay Tactical" is an assumed name for PCCS and

  therefore all use of the warehouse to store inventory and ether materials of "Stone

  Bay Tactical" was in fact use by PCCS. Similarly admitted, 4nd for the same reasons,

   all work by PCCS employees for "Stone Bay Tactical" N.v.s for PCCS. Except as

   expressly admitted, denied.

         61.   Denied.

         62.   Denied as to Stone Bay Tactical, LLC. Exceplt as expressly admitted,

   denied.

         63.   Admitted that prior to January of 2022, SR                Supply, LLC used the

   warehouse to store inventory, the sale of which generated income for PCCS. Except

   as expressly admitted, denied.

         64.   Admitted that PCCS employees were paid by SRS for their work for

   SRS. Admitted that some SRS employees also were employed and paid by PCCS.

         65.    Denied.

         66.    Denied.

         67.    Denied.




                                        REISS & NUTE, PLLC
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                                         of 280

                                               -11-


        68.    The allegations in this paragraph of the Complaint are not addressed to

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         74.   The allegations in this paragraph of the Complaint are not addressed to

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         75.   Denied.



                                         REISS & Nurr, PLIC
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         76.   The allegations in this paragraph of the Complaint are not addressed to

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                                         Russ & NUTT, inc
                  1221 Floral Parkway, Suite 104 - Wilmington, North Ca olina 28403
Case 23-00089-5-DMW        Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42           Page 153
                                          of 280

                                               -13-

        83.    The allegations in this paragraph of the Complaint are not addressed to

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        84.    The allegations in this paragraph of the Complaint are not addressed to

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                                         REISS & Nurr, PLLC
                  1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
Case 23-00089-5-DMW        Doc 1-3 Filed 09/22/23 Entered 09/22/23 15:01:42            Page 154
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        90.    The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.


                               FIRST CLAIM FOR RELIEF
                            (Breach of Fiduciary Duty—Sharpe)

         91.   The Defendant reasserts and incorporates by reference his answers in

  the previous paragraphs as if fully set forth.

         92.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

         93.   The allegations in this paragraph of the CompLnt are not addressed to

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                                          Russ & Nurr, PLLC
                   1221 Floral Parkway, Suite 104 - Wilmington, North Car lina 28403
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        97.     The allegations in this paragraph of the Complaint are not addressed to

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 extent a response is required, denied.

        98.     The allegations in this paragraph of the Complaint are not addressed to

 either of these answering Defendants and therefore no response is required. To the

 extent a response is required, denied.


                               SECOND CLAIM FOR RELIEF
                                (Constructive Fraud—Sharpe)

        99.      The Defendant reasserts and incorporates by reference his answers in

  the previous paragraphs as if fully set forth.

        100.    The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        101.    The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        102.    The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

         103.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.



                                          Ross & Nurr, Pnc
                   1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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                             THIRD CLAIM FOR RELIEF
                        (Production of Corporate Records—PCOS)

        104.     The Defendant reasserts and incorporates by eference his answers in

  the previous paragraphs as if fully set forth.

        105.    The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no resp6nse is required. To the

  extent a response is required, denied.

        106.    The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no resp6nse is required. To the

  extent a response is required, denied.

         107.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no resp6nse is required. To the

  extent a response is required, denied.

         108.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no respOnse is required. To the

  extent a response is required, denied.


                             FOURTH CLAIM FOR RELIEF
                    (Dissolution and Appointment of Receiver—TPCCS)

         109.   The Defendant reasserts and incorporates by ijeference his answers in

  the previous paragraphs as if fully set forth.

         110.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.


                                          Russ & Nurr, PLLC
                   1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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        111.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        112.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        113.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        114.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        115.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        116.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        117.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.




                                          Russ & Nu-rr, PU.0
                  1221 Floral I'arkway, Suite 104 - Wilmington, North Carolina 28403
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                              FIFTH CLAIM FOR RELIEF
                      (Preliminary Restraining Order—Defendants)

        118.    The Defendants reassert and incorporate by reference the answers in

  the previous paragraphs as if fully set forth.

        119.    Denied.

        120.    Denied.

        121.    Denied.

        122.    The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        123.    Denied.

        124.    The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no respOnse is required. To the

  extent a response is required, denied.

        125.    Denied.

         126.   Denied.


                                 SIXTH CLAIM FOR RELIEF
                                 (Breach of Contract—Sharpe)

         127.   The Defendant reasserts and incorporates by 7ference the answers in

  the previous paragraphs as if fully set forth.

         128.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no resp 3nse is required. To the

  extent a response is required, denied.


                                          REISS & NUTT', PLLC
                   1221 Floral Parkway, Suite 104 - Wilmington, North CarOlina 28403
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        129.   The allegations in this paragraph of the Complaint are not addressed to

 either of these answering Defendants and therefore no response is required. To the

 extent a response is required, denied.

        130.   The allegations in this paragraph of the Complaint are not addressed to

 either of these answering Defendants and therefore no response is required. To the

 extent a response is required, denied.

        131.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        132.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        133.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        134.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        135.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.




                                         REISS & Nurr, PLLC
                  1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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         136.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.


                           SEVENTH CLAIM FOR RELIEF
                      (Breach of Wage and Hour Act—Defendants)

         137.   The Defendants reassert and incorporate by reference the answers in

  the previous paragraphs as if fully set forth.

         138.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

         139.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

         140.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

         141.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no res onse is required. To the

  extent a response is required, denied.

         142.   The allegations in this paragraph of the Complaint are not addressed to

   either of these answering Defendants and therefore no res onse is required. To the

   extent a response is required, denied.



                                         Russ & Nurr, PLLC
                  1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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        143.   The allegations in this paragraph of the Complaint are not addressed to

 either of these answering Defendants and therefore no response is required. To the

 extent a response is required, denied.

        144.   The allegations in this paragraph of the Complaint are not addressed to

 either of these answering Defendants and therefore no response is required. To the

 extent a response is required, denied.

        145.   Admitted that PCCS declined a second demand for cash payments that

 was contrary to prior agreement of the parties. Except as expressly admitted, denied.

        146.   The allegations in this paragraph of the Complaint are not addressed to

 either of these answering Defendants and therefore no response is required. To the

 extent a response is required, denied, inclusive of subparts.

        147.   The allegations in this paragraph of the Complaint are not addressed to

 either of these answering Defendants and therefore no response is required. To the

 extent a response is required, denied.

        148.   The allegations in this paragraph of the Complaint are not addressed to

 either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.


                              EIGHTH CLAIM FOR RELIEF
                                 (Defamation—Sharpe)

        149.   The Defendant reasserts and incorporates by reference the answers in

  the previous paragraphs as if fully set forth.




                                         Russ & Nurr, PLLC
                  1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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        150.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no resp nse is required. To the

  extent a response is required, denied.

        151.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no resp nse is required. To the

  extent a response is required, denied.

        152.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no resp use is required. To the

  extent a response is required, denied.

        153.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        154.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        155.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

        156.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.




                                         Russ & Nurr, PLLC
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                              NINTH CLAIM FOR RELIEF
              (Breach of Stock Redemption and Release Agreement—PCCS)

       157.    The Defendant reasserts and incorporates by reference the answers in

 the previous paragraphs as if fully set forth.

       158.    The allegations in this paragraph of the Complaint are not addressed to

 either of these answering Defendants and therefore no response is required. To the

 extent a response is required, denied.

       159.    The allegations in this paragraph of the Complaint are not addressed to

 either of these answering Defendants and therefore no response is required. To the

 extent a response is required, denied.

       160.    The allegations in this paragraph of the Complaint are not addressed to

 either of these answering Defendants and therefore no response is required. To the

 extent a response is required, denied.

       161.    The allegations in this paragraph of the Complaint are not addressed to

 either of these answering Defendants and therefore no response is required. To the

 extent a response is required, denied.


                              TENTH CLAIM FOR RELIEF
                           (N.C. Gen. Stat. §§ 55-7-42—Sharpe)

       162.    The Defendant reasserts and incorporates by reference the answers in

 the previous paragraphs as if fully set forth.

       163.    The allegations in this paragraph of the Complaint are not addressed to

 either of these answering Defendants and therefore no response is required. To the

 extent a response is required, denied.


                                         Russ & NUTT, PLLC
                  1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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         164.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

         165.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

         166.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

         167.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

  extent a response is required, denied.

         168.   The allegations in this paragraph of the Complaint are not addressed to

  either of these answering Defendants and therefore no response is required. To the

   extent a response is required, denied.

         169.   The allegations in this paragraph of the Complaint are not addressed to

   either of these answering Defendants and therefore no response is required. To the

   extent a response is required, denied.


                             ELEVENTH CLAIM FOR RELIEF
                             (Fraudulent Transfer—Defendant)

         170.   The Defendants reassert and incorporate by reference the answers in

   the previous paragraphs as if fully set forth.



                                          REISS & Nurr, PLLC
                   1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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       171.   Admitted that the Plaintiffs are investors in PCCS. Except as expressly

 admitted, denied.

       172.   Denied.

       173.   Denied.

       174.   Denied.

       175.   Denied.

       176.   Denied.

       177.   Denied.

       178.   Denied.

       179.   Denied.


                            TWELFTH CLAIM FOR RELIEF
                        (Pre-Judgment Attachment—Defendants)

       180.   The Defendants reassert and incorporate by reference the answers in

 the previous paragraphs as if fully set forth.

       181.   Denied.

       182.   Denied.

       183.   Admitted to the extent that assets of PCCS have been delivered.

       184.   Denied.

       185.   Denied.



       WHERFORE, the Answering Defendants pray as follows:

       1.     That the Plaintiffs have and recover nothing of these Defendants;



                                         REISS & Nun', PLLC
                 1 221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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        2.          the Defendants be awarded attorney's fees, jointly and severally,

  as provided by law,

        3.    That costs be taxed against the Plaintiffs, jointly and severally: and

        4.    For trial by jury on all issues so triable.



        Respectfully submitted this the 12th day of August 21)22.

                                                     REISS & Nurr, PLLC
                                                     Attorneys for Defendants


                                             By:
                                                     W. Cory
                                                     N.C. State Bar No. 41549
                                                     Email: wcreiss@reissnutt.com
                                                     Kyle J. Nutt
                                                     N.C. State Bar No. 43469
                                                     Email: kjnutt@reissnutt.com
                                                     1221 Floral Parkway, Suite 104
                                                     Wilmington, NC 28403
                                                     Telephone: (910) 420-4674
                                                     Facsimile: (910) 420-4637




                                        REISS & NUTT, PLLC
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                               CERTIFICATE OF SERVICE

         I, the undersigned attorney, hereby certify that the foregoing document was
  duly served on the following persons, pursuant to Rule 5 of the North Carolina Rules
  of Civil Procedure by depositing the same in a postage-paid, properly addressed
  wrapper in a post office or official depository under the exclusive care and custody of
  the United States Postal Service:

        Thomas Babel
        Davis Hartman Wright, LLP
        P.O. Box 11320 (28404)
        Wilmington, NC 28403
        Fax: (910) 756-4080
        tsb@dwlegal.com
        Attorneys for Plaintiffs

        This the 12th day of August 2022.

                                                      REISS & Nurr, PLLC
                                                      Attorneys for Defendants


                                             By:




                                         REISS & Nurr, piic
                  1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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  STATE OF NORTH CAROLINA —                        1N THE GENERAL COURT OF JUSTICE
                                                 E.)   SUPERIOR COURT DIVISION
  COUNTY OF NEW HANOVER                                  FILE NO.: 22-CVS-001507
                                  LOU AUG 15 P ) 2: 22
  MARK EASTHAM
  And PETER SPARK,
                                                  ")‘). S C
               Plaintiffs,                         )
                                                       --
  vs.                                              )
                                                   )
                                                              AMENDED MOTION TO COMPEL
  PORT CITY CONTRACTING                            )
  SERVICES, INC., ROBERT P. SHARPE,                )
  STONE BAY TACTICAL, LLC, and SRS                 )
  SUPPLY, LLC,                                     )
                                                   )
               Defendants.                         )
                                                   )


        NOW COME the Defendants, by and through counsel, pursuant to Rule

  45(0(4), and move the Court for an Order compelling compliance with subpoenas

  issued to and served on: The DaVinci Company, LLC and Carruthers & Roth, PA, to

  which those parties objected on or about August 10, 2022; and DaVinci Aerospace.

  LLC, which failed to produce the requested materials. True and accurate copies of

  the subpoenas are attached as Exhibits A, B, and C.




                                        REISS & Nurr, PLLC
                 1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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                                              -2-


       Respectfully submitted this the 15th day of August 2 22.

                                                    REISS & NUTT, PLLC
                                                    Attorneys tbr Defendants


                                           By:
                                                    W. Cory fss
                                                    N.C. State Bar No. 41549
                                                    Email: wcreissgreissnutt.com
                                                    Kyle J. Nutt
                                                    N.C. State Bar No. 43469
                                                    Email: kjnuttgreissnutt.com
                                                    1221 Floral Parkway, Suite 104
                                                    Wilmington, NC 28403
                                                    Telephone: (91)) 420-4674
                                                    Facsimile: (910) 420-4637




                                       Russ & Nurr, PLLC
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                              CERTIFICATE OF SERVICE

         I, the undersigned attorney, hereby certify that the foregoing document was
  duly served on the following persons, pursuant to Rule 5 of the North Carolina Rules
  of Civil Procedure via United States Postal Service:

        Thomas Babel
        Davis Hartman Wright, LLP
        P.O. Box 11320 (28404)
        Wilmington, NC 28403
        Fax: (910) 756- 4080
        Email: tsb@dhwlegal.com
        Attorneys for Plaintiffs

        Kevin A. Rust
        Carruthers & Roth, P.A.
        235 Edgeworth St.
        Greensboro, NC 27402
        Attorneys for Respondents Carruthers & Roth, PA., and The DaVinei
        Company, LLC

        This the 11th day of August 2022.

                                                     REISS & NUTT, PLIJC
                                                     Attorneys for Defendants


                                             By:




                                       Russ & NWT, WC
                 1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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  STATE OF NORTH CAR,OLIM                    D     IN THE GENERAL COURT OF JUSTICE
                                                       SUPERIOR COURT DIVISION
  COUNTY OF NEW HANQVER,                                 FILE NO.: 22-CVS-001507
                                  .   15 P 2: 2 2
  MARK EASTHAM                                     )
  And PETER SPARK,
                                                   )
               Plaintiffs,
                                                   )
  vs.                                              )
                                                   )
                                                         AMENDED NOTICE OF HEARING
  PORT CITY CONTRACTING                            )
  SERVICES, INC., ROBERT P. SHARPE,                )
  STONE BAY TACTICAL, LLC, and SRS                 )
  SUPPLY. LLC,                                     )
                                                   )
               Defendants.                         )
                                                   )


        PLEASE TAKE NOTICE that the undersigned will bring this matter on for

  hearing, in person, before the New Hanover County Superior Court Judge presiding

  upon Defendants' Amended Motion to Compel, on September 8, 2022, at the Non -

  Jury Civil Session of New Hanover County Superior Court, New Hanover County

  Courthouse, Wilmington, North Carolina, at 9:30 a.m., or as soon thereafter as the

  matter may be reached or as scheduled by the Court. The Plaintiff anticipates the

  hearing will last approximately 45 minutes.




                                        Rnss & Nurr, PLLC
                 1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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       Respectfully submitted this the 15th day of August 2622.

                                                    REISS & NUTT; PLLC
                                                    Attorneys for .befendants


                                           By:
                                                    W. Cory Re'
                                                    N.C. State Bar No. 41549
                                                    Email: wcreissi@reissnutt.com
                                                    Kyle J. Nutt ,
                                                    N.C. State Bar No. 43469
                                                    Email: kjnutt@reissnutt.com
                                                    1221 Floral Parkway, Suite 104
                                                    Wilmington, NC 28403
                                                    Telephone: (910) 420-4674
                                                    Facsimile: (910 420-4637




                                       REISS & Nurr, PLLC
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                               CERTIFICATE OF SERVICE

         I, the undersigned attorney, hereby certify that the foregoing document was
  duly served on the following persons, pursuant to Rule 5 of the North Carolina Rules
  of Civil Procedure via United States Postal Service:

        Thomas Babel
        Davis Hartman Wright, LLP
        P.O. Box 11320 (28404)
        Wilmington, NC 28403
        Fax: (910) 756- 4080
        Email: tsb@dhwlegal.com
        Attorneys for Plaintiffs

        Kevin A. Rust
        Carruthers & Roth, P.A.
        235 Edgeworth St.
        Greensboro, NC 27402
        Attorneys for Respondents Carruthers & Roth, PA., and The Da Vinci
        Company, LLC

        This the 11th day of August 2022.

                                                      REISS & Nurr, PLLC
                                                      Attorneys for Defendants


                                              By:




                                         REISS &        PLLC
                  1221 Floral Parkway, Suite 104 - Wilmington, North Carolina 28403
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 STATE OF NORTH CAROLINA                           IN THE GENERAL COURT OF JUSTICE
                                                   6   ISUPEIZIOR
                                                            L     COURT DIVIpON
 COUNTY OF NEW HANOVER                                    FILE NO.: 22-CVS-0015 )7

 MARK EASTHAM                                     )SEP 21       P 3: 21
 And PETER SPARK,
                                                                    C.S.O,
               Plaintiffs,                         )


 vs.                                               )
                                                   )
                                                              CERTIFICATE OF SERVICE
 PORT CITY CONTRACTING                             )
 SERVICES, INC., ROBERT P. SHARPE,                 )
 STONE BAY TACTICAL, LLC, and SRS                  )
 SUPPLY, LLC,                                      )
                                                   )
               Defendants.                         )
                                                   )


        I, the undersigned attorney, hereby certify that the ORDER was duty served
 on the following persons, pursuant to Rule 5 of the North Carolina Rules of Civil
 Procedure by depositing the same in a postage-paid, properly addressed wrapper in
 a post office or official depository under the exclusive care and custody of the United
 States Postal Service:



       Thomas Babel
       Davis Hartman Wright, LLP
       P.O. Box 11320 (28404)
       Wilmington, NC 28403
       Fax: (910) 756-4080
       Attorneys for Plaintiffs


                                                            A TRUE COPY
                                                       CLERK OF SUPERIOR COURT
                                                         NEW HANO\P_:R COUNTY
                                                         BY: (AVriCiaM. Cherig0
                                                        Deputy Clerk of Superior Court




                                       Russ & NUTT, PLLC
                 1221 Floral Parkway, Suite 104- Wilmington, North Carolina 28403
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       This the 20th day of September 2022.

                                                    REISS & NUTT, PLLC
                                                    Attorneys for Defendants


                                            By:
                                                             Reiss
                                                    N.C. State Bar No. 41549
                                                    Email: wcreiss@reissnutt.com
                                                    Kyle J. Nutt
                                                    N.C. State Bar No. 43469
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                                                    Wilmington, NC 28403
                                                    Telephone: (910) 420-4674
                                                    Facsimile: (910) 420-4637




                                       REISS & NUTT, PLLC
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  STATE OF NORTH CAROLINA FILED                      IN THE GENERAL COURT OF JUSTICE
                                                         SUPERIOR COURT DIVISION
   COUNTY OF NEW HANOVER                                   FILE NO.: 22-CVS-001507
                                  7822 OCT - 3 p 1:21
  MARK EASTHAM
  And PETER SPARK,               NEW HANOVER CO.,
                Plaintiffs,       BY              )
   vs.                                               )
                                                     )         NOTICE OF APPEAI,
   PORT CITY CONTRACTING                             )
   SERVICES, INC., ROBERT P. SHARPE,                 )
   STONE BAY TACTICAL, LLC, and SRS                  )
   SUPPLY, LLC,                                      )
                                                     )
                 Defendants.                         )
                                                     )


         The DaVmci Company, LLC; DaVinci Aerospace, LLC, and Carruthers & Roth,

  PA (collectively the "Appellants"), hereby appeal the Order of the Hon. P                  llis M.

  Gorham, Senior Resident Superior Court Judge, entered 19 September 2020, to The

  Court of Appeals of North Carolina. The Order granted Defendants' Mtion to

  Compel, requiring Appellants to comply with subpoenas issued by Defenda+.

         This the 3rd day of September, 2022.


                                        )4,,     I
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                                      Emails: karecrlaw.com     r.;IAF:d_< OF SUPERIOR COURT
                                                                     NEW HANOVER COUNTY
                                                                   gY: Cidr6tte1si. Toney
                                                                   Deputy CSerk of Supedor Court
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                                CERIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was served upon the parties by electronic

  mail and by first class mail, addressed as follows:

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         This the 3rd day of October, 2022


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